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                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF IDAHO

 In re:

          BRIAN ANDREASEN and KATHRYN A.                Case No. 19-40324-JMM (Ch. 7)
          ANDREASEN,


          PETER MICHAEL LESBO,                          Case No. 19-40683-JMM (Ch. 7)


          STEPHEN PICHETTE and DANIELLE                 Case No. 19-40730-JMM (Ch. 7)
          PICHETTE,


          LYONE B. OVERLIN and REBECCA J.               Case No. 19-40972-JMM (Ch. 7)
          OVERLIN,


          CHRISTOPHER LEE ALLEN and HALEY               Case No. 20-00634-NGH (Ch. 7)
          CHERIE ALLEN,


          MORRIS ADAIR MARGESON,                        Case No. 20-00760-NGH (Ch. 7)


          KATHERINE L. LANTZ,                           Case No. 20-00765-NGH (Ch. 7)


          REBECCA LYNN ESTRACA,                         Case No. 20-00784-NGH (Ch. 7)



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       JAMES EDWARD DESCOTEAU,                      Case No. 20-00843-JMM (Ch. 7)


       EUGENE SWINHART,                             Case No. 20-00915-NGH (Ch. 7)


       HEATHER MANNING,                             Case No. 20-01004-JMM (Ch. 7)


       DOMINIQUE WILSON,                            Case No. 20-01047-JMM (Ch. 7)


       LESLIE A. SETTLES,                           Case No. 20-01063-JMM (Ch. 7)


       APRIL TREJO ESPINO,                          Case No. 20-40528-JMM (Ch. 7)


       DARREL DICKSON, JR.,                         Case No. 20-40754-JMM (Ch. 7)


       KARA D. ANDRUS,                              Case No. 20-40819-JMM (Ch. 7)


       TARA DAWN MACTAGGART,                        Case No. 20-40902-JMM (Ch. 7)


       BRANDY G. EMDIN,                             Case No. 20-40903-JMM (Ch. 7)


       CHRISTY L. PHIPPS,                           Case No. 20-40915-JMM (Ch. 7)


       ALICIA D. BARENDREGT and COLIN               Case No. 20-40931-JMM (Ch. 7)
       BARENDREGT,


       TYRON L. BATES and MEAGAN BENNETT,           Case No. 20-40961-JMM (Ch. 7)


       HANNAH JOY CAIN,                             Case No. 21-00248-JMM (Ch. 7)


       JAMIE POOLE,                                 Case No. 21-00512-NGH (Ch. 7)



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       DAVID MARTINEZ AGUILAR,                      Case No. 21-00553-NGH (Ch. 7)


       LAUREN DAWN RIVERA,                          Case No. 21-40002-JMM (Ch. 7)


       CALLIE RAMIREZ,                              Case No. 21-40012-JMM (Ch. 7)


       RUTH M. CRISP,                               Case No. 21-40032-JMM (Ch. 7)


       LISA M. PHIPPS,                              Case No. 21-40100-JMM (Ch. 7)


       RHONDA M. WRIGHT,                            Case No. 21-40160-JMM (Ch. 7)


       KENDRICK N. PEREIRA,                         Case No. 21-40162-JMM (Ch. 7)


       HUNTER B. SOLIDAY,                           Case No. 21-40286-JMM (Ch. 7)


       KRISTI M. RANDALL,                           Case No. 21-40374-JMM (Ch. 7)


       ANNA M. BAUMGART,                            Case No. 21-40415-JMM (Ch. 7)


       SAMANTHA M. WHITWORTH,                       Case No. 21-40460-JMM (Ch. 7)


       JOSHUA T. CLAUNCH and ANIKA D.               Case No. 21-40466-JMM (Ch. 7)
       CLAUNCH,


       ASHLEE M. CROASMUN,                          Case No. 21-40467-JMM (Ch. 7)


       CAMERON WARD and MELISSA HEATH,              Case No. 21-40476-JMM (Ch. 7)


       MARK D. CHRISTENSEN and SARAH A.             Case No. 21-40477-JMM (Ch. 7)
       CHRISTENSEN,


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       BRITNI HOWE and CASSIE HOWE,                 Case No. 21-40482-JMM (Ch. 7)


       RAFA ELLIOTT and CYNTHIA ELLIOTT,            Case No. 21-40483-JMM (Ch. 7)


       CHAD N. MOXLEY and TONI L. MOXLEY,           Case No. 21-40497-JMM (Ch. 7)


       CHRISTOPHER COOK and TAUSHA COOK,            Case No. 21-40513-JMM (Ch. 7)


       LOUIS DAVIS ELLWOOD and JESSICA              Case No. 21-40517-JMM (Ch. 7)
       ELLWOOD,


       ERIC W. HORTON and RANDALEE M.               Case No. 21-40521-JMM (Ch. 7)
       BROWYER,


       CODY W. PLICKA and ANGELE M. PLICKA,         Case No. 21-40525-JMM (Ch. 7)


       NORBERTO RODRIGUEZ,                          Case No. 21-40526-JMM (Ch. 7)


       KELSIE SHURTLIFF,                            Case No. 21-40532-JMM (Ch. 7)


       MARISSA J. JOHNSON,                          Case No. 21-40533-JMM (Ch. 7)


       CHRISTOPHER D. SMITH and MISTY SMITH,        Case No. 21-40540-JMM (Ch. 7)


       ERIC R. WHITTEKIEND and SHARLA K.            Case No. 21-40557-JMM (Ch. 7)
       WHITTEKIEND,


       NATHAN S. TRACY,                             Case No. 21-40563-JMM (Ch. 7)

                                Debtors.




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                       UNITED STATES TRUSTEE’S MOTION FOR
                       MONETARY AND INJUNCTIVE REMEDIES

       The Acting United States Trustee (“UST”) hereby moves the Court to impose monetary

and injunctive remedies against attorney Kameron Youngblood (“Youngblood”) due to lack of

compliance with §§ 329, 526, the Bankruptcy Rules of Federal Procedure (“Bankruptcy Rules”),

Local Bankruptcy Rules (“LBR”), and Idaho Rules of Professional Conduct (“IRPC”). The UST

identifies herein the dockets and documents in the above-captioned cases that warrant the

imposition of such remedies.

                                    I.     BACKGROUND

       1.      On October 7, 2021, Chief Judge Meier held a hearing in the Larson Case on a

Motion for Monetary and Injunctive Remedies filed by the UST (the “Larson Case Motion”).

       2.      In the Larson Case Motion, the UST requested various remedies, including an

order for the return of fees in any pending case filed by Youngblood where it appears the

signatures filed on the docket were received by Youngblood’s office via email, fax, or some

other electronic means. In other words, where it appears Youngblood may not have obtained wet

signatures to retain in his files as required by Local Bankruptcy Rule (“LBR”) 5003.1.

       3.      In addition, Youngblood made certain statements during the October 7 hearing

that appeared to cause Chief Judge Meier concern over whether Youngblood was adequately

representing his clients in other open cases where he appears as counsel.

       4.      Chief Judge Meier determined he did not have a sufficiently broad evidentiary

record at the close of the hearing in the Larson Case to impose a remedy in other currently

pending cases. He also expressed due process concerns about whether, at the time of the October

7, 2021, hearing, Youngblood had sufficient notice and opportunity to respond to the potential

imposition of monetary or injunctive remedies in his other open cases.


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       5.      To better assess the adequacy of Youngblood’s representation of his clients in

other open cases, and the extent to which some of the issues raised in the Larson Case hearing

might be occurring in those cases, Chief Judge Meier requested the UST prepare a motion

addressing those matters. For the reasons set forth below, the UST believes broad monetary and

injunctive remedies in connection with the above-captioned cases is appropriate.

                               II.      REMEDIES UNDER § 329

       Section 329(a) requires an attorney representing a debtor in a bankruptcy case to file a

statement of compensation paid or agreed to be paid for legal services in connection with the

bankruptcy case. Section 329(b) permits the Court to cancel the agreement and order the return

of funds to the extent the compensation exceeds the reasonable value of such services.

       Section 329 reflects Congress’s recognition that payments by a debtor to his or her

attorney present a “serious potential for overreaching by the debtor’s attorney” and that such

payments should therefore be subjected to “careful scrutiny.” H.R. Rep. No. 95-595, at 329

(1977) (reprinted in 1978 U.S.C.C.A.N. 5963,6285). Bankruptcy courts have broad discretion

under § 329(b) to disallow and require return of attorney compensation found to be excessive. In

re Columbia Plastics, Inc., 251 B.R. 580, 584-85 (Bankr. W.D. Wash. 2000) (citing In re Fin.

Corp. of Am., 114 B.R. 221, 224 (9th Cir. BAP 1990)), aff’d, 946 F.2d 689 (9th Cir. 2001); In re

Mahendra, 131 F.3d 750, 757 (8th Cir. 1997).

       Apart from standard considerations of reasonableness under factors mentioned in

§ 330(a)(3) (by analogy), courts have found compensation excessive, cancelled compensation

agreements, and denied compensation under § 329 based on attorneys’ misconduct or deficient

representation. As stated by the court in In re Martin, 197 B.R. 120, 125 (Bankr. D. Colo. 1996):

               a court’s review of the reasonableness of compensation under
               § 329 is a holistic review of the entire attorney/debtor relationship.


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               Compensation to a debtor’s counsel may be considered excessive
               for a number of reasons including the size of the fee, the nature of
               the services provided, failure to disclose the information required
               by Rule 2016(b), unethical conduct or other causes.

In various cases, courts have determined compensation is excessive and agreements should be

cancelled based on violations of rules of professional conduct, id. at 128 (violations of Colorado

Rules of Professional Conduct 1.7, regarding conflicts of interest); and for violations of Local

Bankruptcy Rules, In re Grimmett, 2017 WL 2437231 at *11-12 (Bankr. D. Idaho June 5, 2017),

aff’d, No. 1:17-cv-00266-EJL (D. Idaho Feb. 16, 2018) (“[T]he value of a lawyer’s services to a

debtor is reduced to nothing, or next to nothing, if those efforts include advising the debtor to

violate an order of the Court and a Local Rule. In this case, under § 329(b), the Court will cancel

the Agreement and order a return of the amounts paid to Counsel by Debtor.”).

       The cancellation of agreements and the denial of compensation under § 329(b) is also an

appropriate sanction for an attorney’s failure to comply with the disclosure obligations of

§ 329(a) and Rule 2016(b). See In re Blackburn, 448 B.R. 28, 40-41 (Bankr. D. Idaho 2011)

(citing In re Larson, 04.1 I.B.C.R. 15, 16 (Bankr. D. Idaho 2004) (“[A]ny failure to comply with

[§ 329 and Rule 2016] is given a serious view by the Court, and may subject the attorney to

severe sanctions, including the loss of an attorney’s fees earned in a case, disgorgement, or even

monetary sanctions.”) (citation omitted)); see also Turner v. Davis, Gellenwater & Lynch (In re

Inv. Bankers, Inc.), 4 F.3d 1556, 1565 (10th Cir. 1993); SE Property Holdings, LLC v. Stewart

(In re Stewart), 970 F.3d 1255, 1267 (10th Cir. 2020) (“That is not to say that full disgorgement

is always appropriate for failure to disclose under § 329. But it should be the default sanction,

and there must be sound reasons for anything less.”).

       Attorneys representing a debtor in a bankruptcy case have an affirmative duty to fully and

completely disclose all fee arrangements and all payments. See § 329(a); Rule 2016(b); In re


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Kowalski, 402 B.R. 843, 849-50 (Bankr. N.D. Ill. 2009). In this regard, attorney disclosures

must be “precise and complete.” In re Berg, 356 B.R. 378, 381 (Bankr. E.D. Pa. 2006) (internal

quotation omitted). An attorney who fails to comply with the requirements of § 329(a) or Rule

2016(b) is subject to “forfeiture of ‘any right to receive compensation for services rendered on

behalf of the debtor,’ and the disgorgement of any funds already paid by the debtor.” In re

McTyire, 357 B. R. 898, 904 (Bankr. M.D. Ga. 2006), quoting In re Woodward, 229 B.R. 468,

473 (Bankr. N.D. Okla. 1999). Even negligent or inadvertent failure to disclose fully relevant

information in a Rule 2016 statement may result in denial of all requested fees. Neben &

Starrett, Inc. v. Chartwell Financial Corp. (In re Park–Helena Corp.), 63 F.3d 877, 882 (9th Cir.

1995).

                                 III.    REMEDIES UNDER § 526

         The Bankruptcy Code defines a “debt relief agency” as “any person who provides any

bankruptcy assistance to an assisted person in return for the payment of money or other valuable

consideration.” § 101(12A). An “assisted person,” in turn, is “any person whose debts consist

primarily of consumer debts and the value of whose nonexempt property is less than $204,425.”

§ 101(3). Youngblood is a debt relief agency in the context of his role as debtors’ counsel. See

also Milavetz, Gallop & Milavetz, P.A. v. United States, 559 U.S. 229, 232 (2010) (a bankruptcy

attorney falls within the definition of a “debt relief agency”). Exhibit A, attached hereto,

identifies whether the debtors in the above-captioned cases indicated their debts consist primarily

of consumer debts and identifies the value of each debtors’ nonexempt property. Each of the

debtors in the above-captioned cases is a person whose debts consist primarily of consumer debts

and the value of whose nonexempt property is less than $204,425.

         If a debtor relief agency represents to an assisted person that it will provide certain



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services in connection with a bankruptcy case, and then fails to perform those services, the debt

relief agency has violated § 526(a)(1).

       A debt relief agency is also prohibited from:

               mak[ing] any statement, or counsel[ing] or advis[ing] any assisted
               person or prospective assisted person to make a statement in a
               document filed in a case or proceeding under this title, that is
               untrue or misleading, or that upon the exercise of reasonable care,
               should have been known by such agency to be untrue or
               misleading.

§ 526(a)(2).

       And, a debt relief agency is prohibited from directly or indirectly misrepresenting (a) the

services it will provide to an assisted person or prospective assisted person or (b) the benefits and

risks that may result if such a person becomes a debtor in a bankruptcy case. § 526(a)(3).

       If the Court finds an attorney debt relief agency intentionally violated § 526 or has

engaged in a clear and consistent pattern or practice of violating § 526, it may enjoin the

violation and impose an appropriate civil penalty against the attorney. See § 526(c)(5). The

Code does not establish an amount or range for determining the amount of a civil penalty. See

§ 526(c)(5)(B). Rather, civil penalties should be designed to deter offending parties and others

from similar conduct in the future. In re Hanawahine, 577 B.R. 573, 580 (Bankr. D. Haw.

2017)(citing In re Huffman, 505 B.R. 726, 766 (Bankr. S.D. Miss. 2014)). Courts have imposed

penalties in varying amounts, based on the facts in each case, in exercising their discretion to

impose civil penalties sufficiently to deter offending conduct. See, e.g., Hills v. McDermott (In

re Wicker), 702 F.3d 874, 878 (6th Cir. 2012) (affirming a $5,000 civil penalty imposed by a

bankruptcy court on a debt relief agency under § 526(c)(5)); In re Hanawahine, 577 B.R. at 580

(imposing a $4,311 penalty equivalent to treble damages); In re Huffman, 505 B.R. at 766

(imposing a $28,000 penalty as four times the fees charged to the debtor); see also U.S. v. Gulf


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Park Water Co., 14 F.Supp.2d 854, 858 (S.D. Miss. 1998) (surveying methodology used by

courts in assessing amount of discretionary civil penalties under environmental laws and

concluding that civil penalty must be high enough so that party cannot write off penalty as an

acceptable trade-off for doing business). The amount of any civil penalty should be sufficient to

serve as a deterrent against future improper conduct, but not be so burdensome as to be punitive.

In re Huffman, 505 B.R. at 766.

      IV.     JUSTIFICATION FOR MONETARY AND INJUNCTIVE REMEDIES

       The dockets and documents filed in the above-captioned cases demonstrate problems in

four general areas: (1) not obtaining and retaining wet signatures as required by LBR 5003.1; (2)

untimely filing schedules and other documents in violation of Rule 1007 and LBR 1007.2; (3)

violations of various Rules of Professional Conduct; and (4) using 2016(b) disclosures that (a)

mislead clients with regard to the services being provided and the fees being charged for

services, (b) mislead the Court in terms of the compensation being received by Youngblood, (c)

demonstrate the fees charged by Youngblood exceed the reasonable value of the services being

provided, and (d) demonstrate fee arrangements that create an impermissible conflict of interest

between Youngblood and his clients under the Idaho Rules of Professional Conduct.

   1. Violations of Local Bankruptcy Rule 5003.1

       Local Bankruptcy Rule 5003.1 requires an attorney to obtain and retain an original

handwritten pen and ink signature (“wet signature”); an electronic signature is not sufficient. See

In re Grimmett, 2017 WL 2437231 at *11. The Local Bankruptcy Rule governs electronic case

filing, and provides:

               The original of all conventionally signed documents that are
               electronically filed shall be retained by the filing party for a period
               of not less than the maximum allowed time to complete any
               appellate process, or the time the case of which the document is a


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               part, is closed, whichever is later. The document shall be produced
               upon an order of the court.

LBR 5003.1(e).

       Under the Electronic Case Filing Procedures (“ECF PROCEDURES”) adopted by the

Bankruptcy Court for the District of Idaho, an attorney “Registered Participant filing a Verified

Pleading electronically shall insure the electronic version conforms to the original, signed

pleading/document.” See ECF PROCEDURES at 11 (Bankr. D. Idaho Jan. 16, 2006); General

Order No. 394, ELECTRONIC CASE FILING (Bankr. D. Idaho Apr. 9, 2021) (superseding General

Order No. 247).

       When an attorney submits an electronically signed document to the Court, he is certifying

and affirmatively stating to the court that he has the document in his physical possession bearing

the original signature of the party. ECF PROCEDURES at 11; In re Tran, 427 B.R. 805, 808

(Bankr. N.D. Cal. 2010). The history and import of the ECF Procedures and LBR 5003.1(e)

were previously addressed by the Court in In re Daw:

               Because this Court was in one of the latter waves of the bankruptcy
               courts nationwide to implement ECF, it could and did draw upon
               other courts’ procedures and practices. It implemented, by a
               General Order, the “ECF Procedures” and amended the Local
               Rules of the Court. See General Order 187 (Nov. 15, 2004); LBR
               5003.1. Local Bankruptcy Rule 5003.1 was adopted and governed
               electronic filings, and it referred to and incorporated the ECF
               Procedures. Among other things, LBR 5003.1 addressed the
               subject of signatures:

                    (j) Signatures.
                    The electronic filing of any document by a Registered
                    Participant shall constitute the signature of that person for
                    all purposes provided in the Federal Rules of Bankruptcy
                    Procedure. For instructions regarding electronic
                    signatures, refer to the ECF Procedures.

               See also General Order 187 at 11.



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               The Procedures, in turn, created a process for the electronic filing
               of verified pleadings under Fed. R. Bankr. P. 1008. Under the
               ECF Procedures, at 13.A:

                    A Registered Participant filing a Verified Pleading
                    electronically shall insure that the electronic version
                    conforms to the original, signed pleading/document.
                    Each signature on the original, signed pleading/document
                    shall be indicated on the electronically filed Verified
                    Pleading with the typed name on the signature line of the
                    person purported to have signed the pleading/document.
                    The electronic filing of a Verified Pleading constitutes a
                    representation by the Registered Participant that he or
                    she has the original, signed document in his or her
                    possession at the time of filing. The Registered
                    Participant shall retain the Verified Pleading for a period
                    of not less than the maximum allowed time to complete
                    any appellate process, or the time the case or Adversary
                    Proceeding of which the document is a part, is closed,
                    whichever is later. The document shall be produced upon
                    an order of the Court.

               Thus, the Registered Participant (i.e., the lawyer) must insure that
               the electronic version filed through ECF conforms exactly to the
               written version of the physically signed document (e.g., petition,
               schedule, statement, plan, and any amendments thereto). By
               electronically filing documents, the Registered Participant is
               representing he or she actually has the original, signed document in
               his or her possession.

In re Daw, 2011 WL 231362 at *1-2 (Bankr. D. Idaho Jan. 24, 2011) (bold “(j) Signatures” in

original, other emphasis added).

       The import of an attorney electronically filing a signed document without having the

signature page in his possession has also been described by this court as follows: “an attorney’s

electronic submission of a document to the Court inaccurately ‘purporting to have [a party’s]

signature is no different than [the attorney] physically forging [the party’s] signature and handing

the [document] over the counter to the clerk.’” In re Hurd, 2010 WL 3190752 at *3 (Bankr. D.

Idaho Aug. 11, 2010) (quoting In re Wenk, 296 B.R. 719, 725 (Bankr. E.D. Va. 2002)).



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       In short, if an attorney does not have the original wet ink signature page of a document in

his possession when he represents to the Court, via electronic filing of the document, that he has

the original in his possession, such is an untrue or misleading statement, and the attorney is

subject to penalties due to violation of §526(a)(2). At the very least, the attorney’s non-

compliance with LBR 5003.1 requires the return of any fees under § 329(b).

       It appears Youngblood failed to comply with LBR 5003.1(e) in the following cases

because the signature pages filed with the Court appear to be photographs of signature pages that

were either emailed, texted, or otherwise provided to Youngblood. In other words, it does not

appear Youngblood physically obtained, and is retaining, the original wet ink signatures:

                                                                                                       Docket
 Case Number      Debtor                     Documents with Photographed Signature Pages               Nos.
                  Christopher Lee Allen
 20-00634-NGH     and Haley Cherie Allen     Petition                                                           8
                                             Declaration re Schedules; Statement of Financial
 20-00784-NGH     Rebecca Lynn Estraca       Affairs; Statement of Intention; Statement of CMI             19; 20
                                             Declaration re Schedules; Statement of Financial
 20-00915-NGH     Eugene Swinhart            Affairs; Statement of Intention; Statement of CMI             12; 17
                                             Petition; Declaration re Schedules; Statement of
 20-01004-JMM     Heather Manning            Financial Affairs; Statement of Intention                          9
                                             Petition; Declaration re Schedules; Statement of
                                             Financial Affairs; Statement of Intention; Statement of
 20-01047-JMM     Dominique Wilson           CMI                                                         7; 17; 18
                                             Petition; Declaration re Schedules; Statement of
                                             Financial Affairs; Statement of Intention; Statement of
 20-40902-JMM     Tara Dawn MacTaggart       CMI                                                                9
                                             Petition; Declaration re Schedules; Statement of
                                             Financial Affairs; Statement of Intention; Statement of
 20-40915-JMM     Christy L. Phipps          CMI                                                            7; 16
                                             Petition; Declaration re Schedules; Statement of
 21-00512-NGH     Jamie Poole                Financial Affairs; Statement of Intention                      8; 17
                                             Petition; Declaration re Schedules; Statement of
 21-40002-JMM     Lauren Dawn Rivera         Financial Affairs; Statement of Intention                          9
                  Cameron Ward and           Declaration re Schedules; Statement of Financial
 21-40476-JMM     Melissa Heath              Affairs; Statement of Intention; Statement of CMI             17; 18
                  Christopher Cook and       Petition; Declaration re Schedules; Statement of
 21-40513-JMM     Tausha Cook                Financial Affairs; Statement of Intention                      9; 13
 21-40533-JMM     Marissa J. Johnson         Petition                                                           9
                  Eric R. Whittekiend and
 21-40557-JMM     Sharla K. Whittekiend      Petition                                                           8
 21-40563-JMM     Nathan S. Tracy            Petition                                                           8



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       It appears Youngblood failed to comply with LBR 5003.1(e) in the following additional

cases because the signature pages appear to be signed electronically, through DocuSign or some

similar service, rather than by an original wet ink signature:

                                           Documents with Photographed Signature Pages or           Docket
 Case Number      Debtor                   Electronic Signatures                                    Nos.
                                           Declaration re Schedules (Electronic); Statement of
                  Britni Howe and Cassie   Financial Affairs (Electronic); Statement of Intention
 21-40482-JMM     Howe                     (Electronic)                                                      13
                                           Petition (Photograph); Declaration re Schedules
                  Eric W. Horton and       (Electronic); Statement of Financial Affairs
 21-40521-JMM     Randalee M. Browyer      (Electronic); Statement of Intention (Electronic)             9; 15

For the In re Howe case, the signature page for the Petition appears to include a handwritten

signature. See Bankr. No. 21-40482-JMM, Dkt. No. 8. Docket No. 13, however, includes

purported signature pages where the signatures do not match the signatures on the Petition and

appear to have been electronically generated or signed. Compare id., Dkt. No. 8 with id., Dkt.

No. 13. For the In re Horton case, the signature page for the Petition is a photograph of what

appears to be a handwritten signature. See Bankr. No. 21-40521-JMM, Dkt. No. 9. Docket No.

15 includes purported signature pages with signatures that do not match the signatures on the

Petition and appear to have been electronically generated or signed. Compare id., Dkt. No. 9

with id., Dkt. No. 15.

       There are six other cases with additional signature-related issues that are of concern given

a debtor’s attorney’s responsibilities and representations under LBR 5003.1, Idaho’s ECF

Procedures, and the case law interpreting the same:

In re Andreasen, 19-40324-JMM

                                                                                                    Docket
 Case Number      Debtor                   Documents with Photographed Signature Pages              Nos.
                  Brian Andreasen and      Declaration re Schedules; Statement of Financial
 19-40324-JMM     Kathryn A. Andreasen     Affairs                                                           19

       In the In re Andreasen case, a document was filed purporting to be the signatures of the


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debtors for the Declaration About an Individual Debtor’s Schedules and the Statement of

Financial Affairs. Bankr. No. 19-40324-JMM, Dkt. No. 19. The document is a photograph of

two signature pages and is of poor quality. See id. Upon inspection, the photographs are not of

signature pages signed by the Andreasens, but are photographs of signature pages signed by

debtors in another case entirely,1 filed by Youngblood as a representation the signatures belong

to the Andreasens. Id. There are no signatures on file for the Andreasens, whether photographic

representations or otherwise, for their Schedules or Statements of Financial Affairs. Id. And, the

document that was filed as the debtors’ signature pages is untrue and misleading. Id.

In re Margeson, 20-00760-NGH

                                                                                                             Docket
    Case Number      Debtor                       Documents with Photographed Signature Pages                Nos.
                                                  Declaration re Schedules; Statement of Financial
    20-00760-NGH     Morris Adair Margeson        Affairs; Statement of CMI                                        18, 19

         In the In re Margeson case, all of the above-identified documents include only

photographic representations of the debtor’s signature. Bankr. No. 20-00760-NGH, Dkt. No.19.

The filed Statement of Current Monthly Income, into which the debtor’s signature page was

inserted,2 presumably by Youngblood, is the Statement of Current Monthly Income for a Mark

Caleb Lyons, the debtor in Bankr. No. 20-40629-JMM. Id. As a result, the filed document is an

untrue and misleading representation of the debtor’s Statement of Current Monthly Income –

while the signature page is a photo of the debtor’s signature, much of the information and

calculations in the document are not the debtor’s, but are, presumably, Mr. Lyons’. Id.


1
  The signatures appear to be for a Brian and Ashley Allen, Bankr. No. 19-40323-JMM. The same signature pages
were filed in the Allens’ bankruptcy case. See id., Dkt. No. 19. In other words, there was no switch, where the
Andreasens’ signature pages were filed in the Allens’ bankruptcy case and vice-versa; the Andreasens’ signature
pages do not appear to have been filed anywhere.
2
  While the signature page inserted into the document is a photographic representation, the pages before and after the
signature page are not. See Bankr. No. 20-00760-NGH, Dkt. No.19. In other words, it appears someone inserted the
photo of the debtor’s signature page into the middle of a .pdf of someone else’s Statement of Current Monthly
Income.

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In re Phipps, 21-40100-JMM

                                                                                                     Docket
 Case Number      Debtor                   Documents with Photographed Signature Pages               Nos.
                                           Petition; Declaration re Schedules; Statement of
                                           Financial Affairs; Statement of Intention; Statement of
 21-40100-JMM     Lisa M. Phipps           CMI                                                         6; 14; 15

       In the In re Phipps case, the documents identified above are photographic

representations. Of additional concern, however, are various verified statements regarding the

debtor’s domestic support obligations. See Bankr. No. 21-40100-JMM, Dkt. Nos. 5, 16, 18. On

February 17, 2021, the debtor filed a Statement of Domestic Support Obligation on which she

marked that she did not have a domestic support obligation. Id., Dkt. No. 5. At the same time,

the debtor’s Statement included information for a party that held a claim of support against her.

Id. The document was a photographic representation of the actual Statement and the signature in

the photograph was dated February 10, 2021. Id.

       On February 17, 2021, the Court entered the following on the docket:

                Corrective Action: It appears the form has not been completely
                filled out. Counsel to please re-file completed document. (It
                appears the form was marked as having no domestic obligations.
                However, it does appear there are domestic obligations.) (RE:
                related document(s)5 Statement of Domestic Support Obligations
                filed by Debtor Lisa M. Phipps) Corrective Action due by
                2/22/2021. (ck)

Id., Docket Entry of Feb. 17, 2021.

       On March 3, 2021, nine days after the corrective entry deadline, Youngblood filed

another Statement for the debtor (the “First Revised Statement”). Id., Dkt. No. 16. The First

Revised Statement was, again, a photograph, had crossed out the indication there was no

domestic support order, marked there was such an order, and included handwriting indicating (a)

the debtor did not know the claim holder’s address and (b) the order had not been entered by a



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court.3 Id. The signature on the First Revised Statement was dated February 10, 2021, and it

appears the debtor either did not sign the First Revised Statement once changes were made to the

initial Statement or she back-dated the First Revised Statement to the date of the initial

Statement. Id.

         Then, on March 28, 2021, Youngblood filed another Statement for the debtor (the

“Second Revised Statement”). Id., Dkt. No. 18. The Second Revised Statement appears to be

exactly the same as the initial Statement, even including the same date next to the signature. Id.

But, now, someone had typed the missing information onto the top of the photograph in blue

font. Id. Confusingly, the Second Revised Statement indicates the debtor both has a domestic

support obligation and that she does not have such an obligation – both “boxes” are checked, one

in the original font and the second in the later-added blue font. Id. Given that it appears the

debtor did not sign either of the First Revised Statement or the Second Revised Statement at the

time those documents were prepared (or at the time the initial document was altered), the

accuracy of those statements being produced and attested to by the debtor is suspect. See id.,

Dkt. Nos. 5, 16, 18.

         To the extent the series of Statements of Domestic Support Obligations filed by

Youngblood purport to be the original documents signed by the debtor, such representations

appear to be untrue and misleading.

In re Randall, 21-40374-JMM

                                                                                                       Docket
    Case Number     Debtor                     Documents with Photographed Signature Pages             Nos.
                                               Declaration re Schedules; Statement of Financial
    21-40374-JMM    Kristi M. Randall          Affairs; Statement of Intention; Statement of CMI               16; 18




3
 For the entry “Court name and jurisdiction in which order of support was issued:” someone hand wrote “N/A.”
Bankr. No. 21-40100-JMM, Dkt. No. 16. For the entry “Court Case No.,” someone again hand wrote “N/A.” Id.

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       For the In re Randall case, the above-identified documents are all photographic

representations of signature pages. In addition, a document purporting to be the debtor’s

signature page for the Petition was filed on June 23, 2021. Bankr. No. 21-40374-JMM, Dkt. No.

8. While that document contains photographs of two signature pages, both signature pages are

for other documents, and neither is for the Petition. Id.

       On June 23, 2021, the Court entered the following on the docket:

               Corrective Action: You are receiving this notice because the
               original signature page was not filed at the same time as the
               electronically filed document. Please file the signature page for
               the Voluntary Petition page 6, electronically through ECF. For
               further information/procedures, visit our website at
               www.id.uscourts.gov. (RE: related document(s)1 Voluntary
               Petition (Chapter 7) filed by Debtor Kristi M. Randall) Corrective
               Action due by 6/28/2021. (ck)

Id., Docket Entry of June 23, 2021. On July 1, 2021, the Court made the following docket entry:

               SECOND Corrective Action: You are receiving this notice
               because the original signature page was not filed at the same time
               as the electronically filed document. Please file the signature page
               for the Voluntary Petition page 6, electronically through ECF. For
               further information/procedures, visit our website at
               www.id.uscourts.gov. (RE: related document(s)1 Voluntary
               Petition (Chapter 7) filed by Debtor Kristi M. Randall) Corrective
               Action due by 7/6/2021. (kll)

Id., Docket Entry of July 1, 2021.

       On July 20, 2021, two weeks after the deadline in the second corrective action entry,

Youngblood filed what was supposed to be an “Addendum/Supplement, Signature page(s).” Id.,

see Docket Entry for Dkt. No. 15. The document, however, only includes a June 22, 2021,

signature of Youngblood – it does not include the debtor’s signature. See id., Dkt. No. 15. The

debtor’s signature, through a photographic representation or otherwise, has still not been

provided for the Petition. See id. The documents represented by Youngblood as being the



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debtor’s signature on the Petition are untrue and misleading as none of them include the debtor’s

signature or even a photographic representation of that signature.

In re Plicka, 21-40525-JMM

       In the In re Plicka case, the debtors filed their Petition, Schedules, Statement of Financial

Affairs and other documents on September 7, 2021. Bankr. No. 21-40525-JMM, Dkt. No. 1.

That same day they filed a document containing signature pages. Id., Dkt. No. 10. While

signature pages for most of the documents were included, a signature page for the Statement of

Financial Affairs was not.

       On September 8, 2021, the Court made the following docket entry:

               Corrective Action: You are receiving this notice because the
               original signature page was not filed at the same time as the
               electronically filed document. Please file the signature page for
               the Statement of Financial Affairs, electronically through ECF.
               For further information/procedures, visit our website at
               www.id.uscourts.gov. (RE: related document(s)1 Voluntary
               Petition (Chapter 7) filed by Debtor Cody W Plicka, Joint Debtor
               Angele M Plicka) Corrective Action due by 9/13/2021. (ck)

Id., Docket Entry of Sept. 8, 2021. Nearly a month later, on October 7, 2021, the Court entered

an additional docket entry:

               SECOND Corrective Action: You are receiving this notice
               because the original signature page was not filed at the same time
               as the electronically filed document. Please file the signature page
               for the Statement of Financial Affairs, electronically through ECF.
               For further information/procedures, visit our website at
               www.id.uscourts.gov. (RE: related document(s)1 Voluntary
               Petition (Chapter 7) filed by Debtor Cody W Plicka, Joint Debtor
               Angele M Plicka) Corrective Action due by 10/12/2021. (ad)

Id., Docket Entry of Oct. 7, 2021.

       As of today’s date, a signature page bearing the debtors’ signatures for the Statement of

Financial Affairs has not been filed. The statement and representation that Youngblood had an



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original, signed copy of the Statement of Financial Affairs on September 7, 2021, then, appears

to be untrue and misleading. If he had the original, signed document in his possession, it would

have been an easy task for him to have scanned and filed the signature page in response to the

Court’s corrective entries.

In re Ellwood, 21-40517-JMM

       In the In re Ellwood case, the debtors filed two sets of signature pages: one for the

Petition and related documents, Dkt. No. 9, and one for the Schedules, Statement of Financial

Affairs, and Statement of Intention, Dkt. No. 18. See Bankr. No. 21-40517-JMM. The

signatures associated with each set of signature pages, however, differ widely between the two

sets of documents. Compare id., Dkt. No. 9 with id., Dkt. No. 18. It is unclear which, if either,

is the actual signature of the debtors.

       The UST has not identified every above-captioned case in this subsection of the Motion,

only those cases where it was most obvious the wet ink signatures did not appear to be on file or

where there are other signature-related concerns. At the same time, there are other cases where it

is simply impossible to tell whether the filed signature is a scan of an original wet ink signature

page or not. And, even where signature pages appear to be scans of wet ink signatures, as

opposed to photographs, the debtors may have scanned the pages and sent the electronic copy to

Youngblood without ever sending the original, signed pages to him.

       It appears Youngblood has violated the requirements of § 526(a)(2). And there appears

to be a clear and consistent pattern or practice by Youngblood of violating § 526(a)(2) by making

untrue or misleading statements regarding his possession of original signature pages. In several

cases, the debtors have filed untrue and misleading statements because the signature pages filed

by Youngblood are not the debtors’ signatures or there are other problems related to the



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signature pages. The imposition of monetary and injunctive remedies under § 526(c)(5),

therefore, appears appropriate. Remedies under § 329(b) also appear appropriate due to non-

compliance with LBR 5003.1.

   2. Untimeliness of Filings and Violations of Bankruptcy Rule 1007

       Bankruptcy Rule 1007 governs the filing of Lists, Schedules, Statements, and other

documents with the Court. Rule 1007(b) identifies what Schedules, Statements, and other

documents are required, and Rule 1007(c) specifies the time limits within which such documents

must be filed. For known assets at the time a debtor files a Chapter 7 petition, a debtor’s

Schedules and Statement of Financial Affairs “shall be filed with the petition or within 14 days

thereafter.” Rule 1007(c).

       Rule 1007(c) allows courts to extend the 14-day time limit but “only on motion for cause

shown” and with notice to the UST and others. In Idaho, LBR 1007.2 identifies the specific

information a motion for extension of time must include. Local Bankruptcy Rule 1007.2 also

specifies that, unless the Court orders otherwise for cause shown, the time for filing the

schedules, statements, and other required documents will not be granted beyond the date set for

the § 341(a) meeting of creditors.

       Among the duties of a Chapter 7 trustee are duties to liquidate property of the estate and

to investigate the financial affairs of the debtor. See § 704(a). A debtor’s Schedules, Statement

of Financial Affairs, and the § 341(a) meeting of creditors are all tools a trustee can use in

fulfilling those duties. If the Schedules and Statements of Financial Affairs in a case are not filed

in a timely manner and the Chapter 7 trustee does not have the time afforded by Rule 1007 to

review those documents, the trustee may not be able to adequately prepare for the § 341 meeting




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and may be hindered or delayed in his ability to fulfill his duties under the Code. Such can add

unnecessary cost and delay to the administration of cases and estates.

       Chapter 7 trustees, the UST, and other parties in interest also have a relatively short

window for filing a complaint or motion seeking the denial of discharge under § 727. See Rule

4004(a). The time for filing such a complaint or motion is calculated from the first date set for a

§ 341 meeting of creditors. Id. The § 341 meeting of creditors provides an opportunity for

parties in interest to further explore potential grounds for a denial of discharge that may have

been exposed in the Schedules, Statements, and other documents. A delay in the filing of the

required Schedules, Statements, and other documents prejudices all parties in interest who may

be analyzing potential § 727(a) actions. The longer the delay, the greater the prejudice.

       Additional serious consequences can attach to the non-filing of Schedules and Statements

of Financial Affairs. Debtors are duty-bound to file such documents. See § 521(a). And, if the

documents are not filed within 45 days after the date of the petition, a case is required to be

automatically dismissed on the 46th day after the petition date. § 521(i).

       Youngblood’s open cases show a pattern of disregard for Rule 1007 and LBR 1007.2.

Youngblood did not file the debtors’ Schedules or Statements of Financial Affairs within the

required 14 days, and did not move for an extension of time for the filing of such documents, in

the following cases:

                                                  14-day                       Days After     Days After
                                                  Deadline for    Schedules    the Petition   the 14-day
                                     Date         Filing          and          Date           Deadline
                                     Petition     Schedules and   Statements   Schedules      Schedules
 Case Number      Debtor             Filed        Statements      Filed*       Were Filed     Were Filed
 21-00248 -JMM    Hannah Joy Cain     4/15/2021       4/29/2021     7/6/2021             82          68
                  Chad N. Moxley
                  and Toni L.                                                                    over 38
 21-40497-JMM     Moxley              8/24/2021        9/7/2021                over 52 days        days
                  Dominique
 20-01047-JMM     Wilson              12/9/2020      12/23/2020    1/14/2021             36          22



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                                                                                                          over 21
 21-40532-JMM        Kelsie Shurtliff      9/10/2021        9/24/2021                  over 35 days         days
                     Marissa J.                                                                           over 21
 21-40533-JMM        Johnson               9/10/2021        9/24/2021                  over 35 days         days
 21-00512-NGH        Jamie Poole            8/5/2021        8/19/2021      9/8/2021              34            20
                     Lyone B. Overlin
                     and Rebecca J.
 19-40972-JMM        Overlin              10/10/2019      10/24/2019     11/12/2019              33            19
                     Kendrick N.
 21-40162-JMM        Pereira               3/18/2021         4/1/2021     4/19/2021              32            18
                     Hunter B.
 21-40286-JMM        Soliday                5/7/2021        5/21/2021      6/8/2021              32            18
                     Christopher Lee
                     Allen and Haley
 20-00634-NGH        Cherie Allen          7/13/2020        7/27/2020     8/13/2020              31            17
                     Christopher D.
                     Smith and Misty                                                                      over 17
 21-40540-JMM        Smith                 9/14/2021        9/28/2021                  over 31 days         days
 21-40374-JMM        Kristi M. Randall     6/23/2021         7/7/2021     7/20/2021              27            13
                     Tyron L. Bates
                     and MeaGan
 20-40961-JMM        Bennett              12/15/2020      12/29/2020       1/8/2021              24            10
                     Eric R.
                     Whittekiend and
                     Sharla K.
 21-40557-JMM        Whittekiend           9/22/2021        10/6/2021                  over 23 days   over 9 days
 21-40563-JMM        Nathan S. Tracy       9/23/2021        10/7/2021                  over 22 days   over 8 days
                     Peter Michael
 19-40683-JMM        Lesbo                 7/22/2019         8/5/2019     8/12/2019              21             7
 20-40915-JMM        Christy L. Phipps    11/25/2020        12/9/2020    12/16/2020              21             7
                     Samantha M.
 21-40460-JMM        Whitworth              8/2/2021        8/16/2021     8/21/2021              19             5
                     Joshua T.
                     Claunch and
                     Anika D.
 21-40466-JMM        Claunch                8/3/2021        8/17/2021     8/21/2021              18             4
                     Ashlee M.
 21-40467-JMM        Croasmun               8/3/2021        8/17/2021     8/21/2021              18             4
                     Stephen and
 19-40730-JMM        Danielle Pichette      8/2/2019        8/16/2019     8/19/2019              17             3
 20-01063-JMM        Leslie A. Settles  12/15/2020        12/29/2020       1/1/2021               17             3
                     Rebecca Lynn
  20-00784-NGH       Estraca             8/25/2020          9/8/2020      9/10/2020               16             2
*For cases where Statements and Schedules have not yet been filed, the “Days After the Petition” and “Days After
the 14-day Deadline” columns were calculated from October 15, 2021.

        Sometimes the required documents have not been filed until after the initial § 341

meeting of creditors. Trustees, who rely on the Schedules and Statements in preparing for such

meetings, have no opportunity to prepare in those cases. In many other cases, the Schedules and


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Statements were filed just days prior to the initial § 341 meetings. The UST recognizes that, in

some cases with late-filed Schedules and Statements, the documents were filed to allow a few

weeks’ time to review. Even in those cases, however, if a trustee has organized his practice in a

manner to look at cases based on the 14-day deadline imposed by Rule 1007, any unexcused

delay in such filing negatively impacts the trustee’s ability to efficiently review cases, Schedules,

and Statements, and to prepare for the § 341 meeting. Parties reviewing potential § 727(a)

actions are also negatively impacted.

       The relationship between the filing date of the Schedules and Statements and the date set

for the initial § 341 meeting in each of the cases where Schedules and Statements were filed late,

or have not been filed yet, is set forth below:

                                                                                           Days
                                                                                           Before/
                                                                              Schedules    (After) First
                                                    Date         341          and          § 341 Mtg
                                                    Petition     Meeting      Statements   Schedules
 Case Number      Debtor                            Filed        Date         Filed*       Were Filed
 21-00248 -JMM    Hannah Joy Cain                    4/15/2021    5/20/2021     7/6/2021             (47)
                  Chad N. Moxley and Toni L.                                                 (at least 15
 21-40497-JMM     Moxley                             8/24/2021    9/30/2021                        days)
                                                                                              (at least 9
 21-40532-JMM     Kelsie Shurtliff                   9/10/2021    10/6/2021                        days)
                                                                                              (at least 1
 21-40533-JMM     Marissa J. Johnson                 9/10/2021   10/14/2021                         day)
 20-01047-JMM     Dominique Wilson                   12/9/2020    1/14/2021    1/14/2021               0
 21-00512-NGH     Jamie Poole                         8/5/2021     9/9/2021     9/8/2021               1
 21-40286-JMM     Hunter B. Soliday                   5/7/2021     6/9/2021     6/8/2021               1
 21-40374-JMM     Kristi M. Randall                  6/23/2021    7/21/2021    7/20/2021               1
 21-40162-JMM     Kendrick N. Pereira                3/18/2021    4/21/2021    4/19/2021               2
                  Lyone B. Overlin and Rebecca J.
 19-40972-JMM     Overlin                           10/10/2019   11/18/2019   11/12/2019               6
                  Christopher Lee Allen and Haley
 20-00634-NGH     Cherie Allen                       7/13/2020    8/20/2020    8/13/2020               7
 19-40683-JMM     Peter Michael Lesbo                7/22/2019    8/19/2019    8/12/2019               7
 21-40460-JMM     Samantha M. Whitworth               8/2/2021     9/1/2021    8/21/2021              11
                  Joshua T. Claunch and Anika D.
 21-40466-JMM     Claunch                             8/3/2021     9/1/2021    8/21/2021              11
 21-40467-JMM     Ashlee M. Croasmun                  8/3/2021     9/1/2021    8/21/2021              11


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                    Christopher D. Smith and Misty                                                    less than 12
 21-40540-JMM       Smith                                   9/14/2021   10/27/2021                            days
                                                                                                      less than 12
 21-40563-JMM       Nathan S. Tracy                         9/23/2021   10/27/2021                            days
                    Eric R. Whittekiend and Sharla K.                                                 less than 13
 21-40557-JMM       Whittekiend                             9/22/2021   10/28/2021                            days
 20-01063-JMM       Leslie A. Settles                     12/15/2020     1/14/2021       1/1/2021              13
 19-40730-JMM       Stephen and Danielle Pichette            8/2/2019      9/4/2019     8/19/2019              16
                    Tyron L. Bates and MeaGan
 20-40961-JMM       Bennett                               12/15/2020     1/27/2021       1/8/2021              19
 20-40915-JMM       Christy L. Phipps                     11/25/2020       1/6/2021   12/16/2020               21
 20-00784-NGH Rebecca Lynn Estraca                         8/25/2020      10/1/2020    9/10/2020                21
*For cases where Schedules and Statements have not yet been filed, the “Days Before/(After) First § 341 Mtg” is
calculated from October 15, 2021.

        At least two of Youngblood’s clients’ open cases could have been automatically

dismissed under § 521(i). In the case of In re Cain, the Schedules and Statements were not filed

until 82 days after the Petition date. In the case of In re Moxley, as of October 15, 2021, the case

was now 52 days past the Petition date without filed Schedules and Statements. Given the

number of cases referenced in this Motion, it is possible (or even probable) the delay in filing

Schedules, Statements, and other documents has been caused by counsel’s, and not the debtor’s,

conduct. As such, this Motion should not be construed as a request by the UST that any cases be

automatically dismissed under § 521(i). Nevertheless, Youngblood’s conduct in not complying

with required deadlines continues to put his clients at great risk.

        Youngblood’s non-compliance with Rule 1007 and LBR 1007.2 is sufficient grounds and

cause for the reduction or return of fees under § 329(b) in the above-captioned cases.

    3. Violations of Idaho Rules of Professional Conduct

        Youngblood’s violation of certain IRPC indicates the compensation received in the

above-captioned cases is not reasonable and should be reduced or returned under § 329(b).

             a. Violations of Rules of Professional Conduct 1.3 and 1.4

        The IRPC are “designed to provide guidance to lawyers and to provide a structure for


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regulating conduct” as well as to “establish standards of conduct by lawyers.” IRPC, SCOPE. In

specific, IRPC 1.3, which establishes the standard for an attorney’s diligence, provides:

               A lawyer shall act with reasonable diligence and promptness in
               representing a client.

As such, an attorney should pursue matters on behalf of his client despite any opposition,

obstruction, or personal inconvenience to the lawyer. IRPC 1.3, cmt. 1. Lack of diligence by an

attorney can result in adverse consequences for a client, and, at the very least, can cause a client

needless anxiety and to question the attorney’s trustworthiness. Id. at cmt. 3.

       IRPC 1.4 establishes standards relating to an attorney’s communication and provides:

           (a) A lawyer shall:
               (1) promptly inform the client of any decision or circumstance with
                   respect to which the client’s informed consent, as defined in
                   Rule 1.0(e), is required by these Rules;
               (2) reasonably consult with the client about the means by which
                   the client’s objectives are to be accomplished;
               (3) keep the client reasonably informed about the status of the
                   matter;
               (4) promptly comply with reasonable requests for information;
                   including a request for an accounting as required by Rule
                   1.5(f); and
               (5) consult with the client about any relevant limitation on the
                   lawyer’s conduct when the lawyer knows that the client
                   expects assistance not permitted by the Rules of Professional
                   Conduct or other law.
           (b) A lawyer shall explain a matter to the extent reasonably necessary
               to permit the client to make informed decisions regarding the
               representation.

Regular communication by an attorney to his client will minimize the occasions on which the

client needs to request information concerning the representation. IRPC 1.4, cmt. 4. If a client

makes a reasonable request for information, IRPC 1.4 requires a prompt response to the request –

either providing the requested information or acknowledging the receipt of the request and

advising the client when a response providing the information can be expected. Id.



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        There are several issues in some of the above-captioned cases and other, closed cases

which indicate Youngblood is not fulfilling his duties of diligence and communication in his

cases, and that action by the Court is warranted:

In re Willman, 20-41549-JMM

       The In re Willman case is a case that closed on October 20, 2020. See Bankr. No. 20-

40549-JMM, Dkt. No. 18. The Chapter 7 trustee was discharged from the case at the time of

closure. Id. Youngblood represented the debtors in the Willman case.

       For some reason, Youngblood filed Amended Schedules for the debtors in August 2021.

See id., Dkt. No. 21.

       On October 12, 2021, the UST was contacted by the office of the former Chapter 7

trustee in the In re Willman case, Sam Hopkins, indicating the debtors were contacting the

trustee with questions regarding their income tax refund. The debtors indicated to the trustee’s

office that they had been unable to get Youngblood to return their calls for several months. The

debtors reported to the trustee and the trustee confirmed that, as of October 12, 2021,

Youngblood’s office phone had been disconnected. On October 18, 2021, the UST called (208)

525-3328, the number identified by Youngblood on the Idaho State Bar website as his office

phone number and verified the number has been disconnected.

       Youngblood’s clients who communicate with him telephonically are no longer able to do

so.

In re Poole, 21-00512-NGH

       While Youngblood commenced this case for the debtor, the debtor filed a Notice of

Termination of Counsel and Designation of New Counsel on October 13, 2021. Bankr. No. 21-

00512-NGH, Dkt. No. 19. In that Notice, the debtor states:



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                    Debtor has attempted to contact Mr. Youngblood concerning their
                    (sic) case but has received no communication from his office.
                    Debtor has had her 341 meeting continued twice. To ensure that
                    her case proceeds, Debtor has contacted Avery Law to represent
                    her for the duration of her bankruptcy case.

Id.

           One of the referenced § 341 meetings was held on October 7, 2021, the same date as the

hearing on the Larson Case Motion. Youngblood did not appear at the § 341 meeting, but his

client did. Neither the Chapter 7 trustee nor the debtor had received any communication from

Youngblood indicating he would not be present at the meeting or requesting a continuance.4

           Youngblood’s failure to appear at § 341 meetings, non-communication with his clients

regarding the same, and his overall lack of communication with clients, as demonstrated in the

language of the Notice of Termination of Counsel all indicates a lack of compliance with IRPC

1.3 and 1.4.

In re Christensen, 21-40477-JMM

           Youngblood commenced this case for the debtors on August 11, 2021. Bankr. No. 21-

40477-JMM, Dkt. No. 1. The debtors did not file their Schedules, Statements, and other

documents by the 14-day deficiency deadline. On August 27, 2021, the Court requested a status

update on the deficient documents by September 1, 2021. Id. Docket Entry of Aug. 27, 2021.

The debtors did not file any status update. After being contacted by the Chapter 7 trustee, Sam

Hopkins, about concerns in the case, the UST filed a Motion to Dismiss the case due to the

debtors’ non-filing of required documents. See id., Dkt. No. 18.

           In response to the Motion to Dismiss, the debtors left a message with the UST’s office.

Because the debtors were represented by Youngblood, the UST did not return their call but sent



4
    The trustee nonetheless continued the meeting because of the non-presence of the debtor’s attorney.

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Youngblood an email requesting he contact the debtors or provide the UST permission to call the

debtors to discuss the case directly with them. To date, Youngblood has not responded to the

UST’s email.

        On September 17, 2021, the debtors filed a Notice of Termination of Counsel and

Designation of New Counsel. Id., Dkt. No. 19. In that Notice, the debtors state:

                 Debtor has (sic) attempted to contact Mr. Youngblood concerning
                 their case but has received no communication from his office.
                 Debtors have a pending Motion to Dismiss their Chapter 7
                 bankruptcy and have hired Avery Law to represent them to remedy
                 the issues presented in the Motion to Dismiss as well as represent
                 them in their remaining term of the Chapter 7 bankruptcy.

Id.

        Schedules, Statements, and other documents were promptly filed once new counsel

appeared in the case. Id., Dkt. Nos. 21-25. The Motion to Dismiss was thereafter withdrawn.

Id., Dkt. No. 31. Youngblood’s lack of diligence and communication with his clients continues

to put his client’s cases and discharges at risk.

In re Wheeler, 20-00532-NGH
In re Martinez, 21-00201-JMM

        These cases were closed without a discharge because the debtors did not file a Financial

Management Course Certification (Form 423) in each of their respective cases. See Bankr. No.

20-00532-NGH, Dkt. No. 23; Bankr. No. 21-00201-JMM, Dkt. No. 29. In both cases, the

debtors have independently hired new counsel, Hyrum Zeyer,5 and represented to him that the

Financial Management Course Certifications were provided to Youngblood prior to the cases

being closed, but Youngblood never filed the certificates.

        In moving to reopen the In re Wheeler case, the debtor stated:


5
 While Mr. Zeyer has taken action in the In re Wheeler case, he was only recently contacted in the In re Martinez
case and reports to the UST that he is currently working on remedying the issues in that case.

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               In working with their prior attorney, the Debtors were unsuccessful
               in filing with the Court their certificates of completion for their
               second online course and this case closed without a discharge. The
               Debtors have completed their course and it is the intention of the
               Debtor(s) to file their certificates with the court once their case is
               reopened.

Bankr. No. 20-00532-NGH, Dkt. No. 25. In some instances, then, Youngblood’s lack of

diligence and communication has cost his clients their discharge.

       There are other open cases where the debtors are facing the loss of their discharge due to

issues with responding to the income tax turnover order, including In re Phipps, 20-40915-JMM

(pending adversary proceeding to revoke discharge; a default was entered October 5, 2021); In re

Ramirez, 21-40012-JMM (pending adversary proceeding to revoke discharge); In re Bates, 20-

40961-JMM (in an October 4, 2021, trustee report, the trustee indicated that, if he does not

receive refunds by October 31, 2021, he will be filing an adversary proceeding to revoke

discharge). The UST does not, at this time, have specific evidence tying the debtors’ non-

compliance with the income tax turnover orders in those cases to deficiencies in Youngblood’s

representation. At the same time, the UST notes the issues in the Larson Case Motion, which, in

part, revolved around income tax turnover issues, appears to have been the result of

Youngblood’s lack of diligence and communication.

In re Johnson, 21-40533-JMM
In re Aguilar, 21-00553-NGH

       In each of these cases, a § 341 meeting was scheduled for October 14, 2021, with Trustee

Patrick Geile. At the time of the § 341 meeting in the In re Johnson case, neither the debtor nor

the trustee had been informed of any request or need of a continuance of the meeting in the case.

The debtor appeared at the meeting; Youngblood did not. Trustee Geile continued the meeting

due to Youngblood’s non-appearance.



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       By the time the § 341 meeting in the In re Aguilar case was held, Youngblood had

contacted Trustee Geile to indicate he would not be appearing. Apparently, Youngblood did not

communicate that same message to his client. The UST received a voicemail from Mr. Aguilar’s

spouse indicating her husband had missed his § 341 because they could not get ahold of

Youngblood and had the wrong information to call into the telephonic § 341 meeting.

       These cases demonstrate concerns with Youngblood’s diligence and communication in

his representation of his clients. As such, the compensation received by Youngblood in the

above-captioned cases is not reasonable and should be returned under § 329(b).

           b. Violations of IRPC 3.3

       An attorney’s duties of candor towards the Court are outlined in IRPC 3.3, which

includes, among other things:

               (a) A lawyer shall not knowingly:
                   (1) make a false statement of fact or law to a tribunal or fail to
                       correct a false statement of material fact or law previously
                       made to the tribunal by the lawyer.

Attorneys, as officers of the court, have special duties to avoid conduct that undermines the

integrity of the adjudicative process. IRPC 3.3, cmt. 2. Part of that duty includes not allowing

the Court to be misled by false statements of law or fact or evidence the attorney knows to be

false. Id. The duty of candor dovetails with the § 526(a)(2) prohibition against making, or

advising an assisted person to make, an untrue or misleading statement in a document filed in a

case or proceeding.

       As noted elsewhere in this Motion, including in the discussion regarding signature pages

and the discussion on 2016(b) Disclosure of Compensation issues, several the representations by

Youngblood in the above-captioned cases are untrue and misleading. The additional violation of




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IRPC 3.3 caused by the false statements and representations is additional cause for the return of

fees under § 329(b).

    4. Youngblood’s 2016(b) Disclosures of Compensation and Fee Agreements

        The Code establishes the terms upon which attorneys who represent debtors may receive

compensation. See, e.g., §§329, 330, 526; Rules 2016, 2017. In the Chapter 7 context, attorneys

who represent debtors: (a) cannot receive compensation from the estate for their representation

of the debtor, Lamie v. United States Trustee, 540 U.S. 526, 536-37 (2004); (b) cannot collect

fees from their clients during the post-petition period if those fees arose from services provided

pre-petition, In re Biggar, 110 F.3d 685 (9th Cir. 1997); and (c) must charge reasonable fees for

the services they render to their debtor clients, § 329.

        Due to the inability of some clients to pay the entire fees associated with a Chapter 7 case

before a petition is filed, some attorneys craft agreements that purport to “bifurcate” their

services into pre- and post-petition portions. The intent of such agreements is apparently, at least

in part, to avoid the effects of the automatic stay and the discharge injunction by allocating most

of the attorney’s services to the post-petition period, thereby allowing the attorney to collect their

fees after the petition has been filed.

        In general, courts have determined that bifurcated contracts in the Chapter 7 context are

not per se prohibited. See, e.g., In re Milner, 612 B.R. 415, 432 (Bankr. W.D. Okla. 2019); In re

Carr, 613 B.R. 427, 442 (Bankr. E.D. Ky. 2020). At the same time, the particulars of fee

agreements bifurcating services must be analyzed to determine (1) whether the disclosures to the

client are sufficient; (2) whether disclosures to the Court are accurate; (3) whether the fee

arrangement indicates the fees being charged are reasonable for the services being performed;

and (4) whether the fee arrangement creates an impermissible conflict of interest.



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             a. Disclosures to Clients

         As noted above, § 526(a)(1) requires an attorney debt relief agency to perform all

services he has informed an assisted person he would provide in connection with a bankruptcy

case. A 2016(b) Disclosure of Compensation has been filed in nearly all the above-captioned

cases,6 describing which services Youngblood would provide in connection with each case in

exchange for compensation. The filed 2016(b) disclosures appear to indicate Youngblood is

misrepresenting the services he will provide to his clients, in violation of § 526(a)(3),7 and is

telling his clients he will provide certain services that he subsequently fails to perform, in

violation of § 526(a)(1).

         The form and content of Youngblood’s 2016(b) Disclosures of Compensation have

evolved over time. Prior to November 25, 2020, Youngblood primarily used one form (the “Old

Disclosure Form”), and, starting on or around November 25, 2020, he primarily used another,

updated form (the “New Disclosure Form”). Compare Bankr. No. 20-40819-JMM, Dkt. No. 4

with Bankr. No. 20-40915-JMM, Dkt. No. 4. Both forms highlight problems in Youngblood’s

representations to his clients and the Court.

Disclosures Under the Old Disclosure Form

         The bankruptcy cases where Youngblood used the Old Disclosure Form are:




6
  2016(b) Disclosures of Compensation have not been filed in In re Barendregt, 21-40931-JMM, or In re Phipps,
21-40100-JMM.
7
  Section 526(a)(3) provides:
             (a) A debt relief agency shall not–
                       (3) misrepresent to any assisted person or prospective assisted person, directly or indirectly,
                           affirmatively or by material omission, with respect to–
                                 (A) the services that such agency will provide to such person; or
                                 (B) the benefits and risks that may result if such person becomes a debtor in a
                                       case under this title.

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                                                                   Received      Balance
                                                                   Prior to      Owed When
                                          Date         Total For   Filing        2016(b)        2016(b)
                                          Petition     Legal       2016(b)       Disclosure     Disclosure
 Case Number      Debtor                  Filed        Services    Disclosure    Filed          Dkt. No.
                  Brian Andreasen
 19-40324-JMM     and Kathryn A.            4/8/2019   $1,910.00         $0.00      $1,910.00   Dkt. No. 4
                  Andreasen
                  Stephen and
 19-40730-JMM                               8/2/2019   $1,700.00       $500.00      $1,200.00   Dkt. No. 4
                  Danielle Pichette
                  Lyone B. Overlin
 19-40972-JMM     and Rebecca J.          10/10/2019   $1,910.00         $0.00      $1,910.00   Dkt. No. 4
                  Overlin
                  Christopher Lee
 20-00634-NGH     Allen and Haley          7/13/2020   $2,200.00         $0.00      $2,200.00   Dkt. No. 4
                  Cherie Allen
                  Morris Adair
 20-00760-NGH                              8/19/2020   $1,910.00         $0.00      $1,910.00   Dkt. No. 4
                  Margeson
 20-00765-NGH     Katherine L. Lantz       8/20/2020   $1,910.00         $0.00      $1,910.00   Dkt. No. 4
                  Rebecca Lynn
 20-00784-NGH                              8/25/2020   $1,910.00         $0.00      $1,910.00   Dkt. No. 4
                  Estraca
                  James Edward
 20-00843-JMM                              9/17/2020   $2,100.00         $0.00      $2,100.00   Dkt. No. 4
                  Descoteau
 20-40754-JMM     Darrel Dickson, Jr.      9/25/2020   $1,910.00         $0.00      $1,910.00   Dkt. No. 4

 20-00915-NGH     Eugene Swinhart         10/20/2020   $1,610.00         $0.00      $1,610.00   Dkt. No. 4
 20-40819-JMM     Kara D. Andrus          10/20/2020   $1,910.00         $0.00      $1,910.00   Dkt. No. 4


       As to the services that would be provided in cases using the Old Disclosure Form, the

form indicates that “in return for the above-disclosed fee [in each disclosure],” Youngblood

agreed to

                render legal service for all aspects of the bankruptcy case,
                including:
                a. Analysis of the debtor’s financial situation, and rendering
                    advice to the debtor in determining whether to file a petition in
                    bankruptcy;
                b. Preparation and filing of any petition, schedules, statement of
                    affairs and plan which may be required;
                c. Representation of the debtor at the meeting of creditors and
                    confirmation hearing, and any adjourned hearings thereof.

See, e.g., Bankr. No. 20-40819-JMM, Dkt. No. 4. Later in the form, there is language indicating:

                Debtor and Attorney have entered into two separate fee
                agreements. The first was for $0.00 fees, but may have included

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                    costs, signed pre-petition, for the preparation and filing of the
                    bankruptcy petition, review, analysis and advisement of the typical
                    matters that are required to be performed pre-petition by a
                    bankruptcy attorney under the applicable bankruptcy and ethical
                    rules. Any fees and costs for pre-petition services unpaid at the
                    time of filing are waived. The second fee agreement was for
                    $__________, signed post-petition for the completion of the
                    balance of the schedules, representation at the 341 meeting of
                    creditors, and the legal services outlined in the fee agreement.

Id. Typically,8 the blank line in the above-quoted language was filled in with the total fee

amount described earlier in the Old Disclosure Form. See, e.g., id. The Old Disclosure Form

also typically excluded certain, specified matters from the services being provided in exchange

for the fees. See, e.g., id.; but see Bankr. No. 19-40971-JMM, Dkt. No. 4 (representative of

some cases where no services were excluded).

           The Old Disclosure Form states that, pre-petition, Youngblood would prepare and file the

bankruptcy petition and would review, analyze, and advise of the “typical matters that are

required to be performed pre-petition by a bankruptcy attorney under the applicable bankruptcy

and ethical rules.” See, e.g., Bankr. No. 20-40819-JMM, Dkt. No. 4. As to post-petition

services, the Old Disclosure Form states Youngblood would complete “the balance of the

schedules,” represent the debtor at the § 341 meeting, and provide other “legal services outlined

in the fee agreement.”

           As noted elsewhere in this Motion, Youngblood often did not communicate with clients,

did not attend § 341 meetings, did not timely file Schedules, Statements, and other documents,

and was otherwise not performing the services that are required to be performed by a bankruptcy

attorney under the applicable bankruptcy and ethical rules.




8
    At least once, the blank line was left blank. See, e.g., Bankr. No. 19-40971-JMM, Dkt. No. 4.

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        Regarding the fees that would be charged for services, above the language already

highlighted in the discussion regarding services, the language of the Old Disclosure Form

provides the “above-disclosed fee” paid or agreed to be paid to Youngblood “for services

rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with

the bankruptcy case.” See, e.g., Bankr. No. 20-40819-JMM, Dkt. No. 4. The Old Disclosure

Form then included a total of the amount Youngblood agreed to accept “for legal services.” Id.

        Typically, the Old Disclosure Form indicated $0.00 had been received prior to the filing

of the statement, and that the full amount of fees was still due at the time the 2016(b) Disclosure

of Compensation was filed. Id. Many, but not all, of the cases using the Old Disclosure Form

contained an explanation that debtors were offered two options for the payment of counsel’s

fees: (1) pre-pay the fees in full before the filing of the Petition; or (2) bifurcate the services into

pre- and post-petition work for a higher fee. Id. The Old Disclosure Form provided various

justifications for the higher fee, including that “FSF” charges a fee to Youngblood “for its

financing, payment management, credit reporting and other services provided to Counsel, for

which FSF charges a fee equal to (sic).” Id. “FSF” is not further identified in the Old Disclosure

Form and neither is the amount of the higher fee that is charged in bifurcated cases.9 Id. There

is also no explanation of how a fee charged by FSF might be calculated. Id. The language

potentially disclosing how such a fee might be calculated is simply cut off in the Old Disclosure

Form. Id.

        The Old Disclosure Form is deficient regarding the fees that would be charged for the

legal services to be provided by Youngblood and perpetuated misrepresentation by Youngblood

to his clients of what services he would be provide. First, the Old Disclosure Statement is


9
 There are a few cases using the Old Disclosure Form that, for some reason do not reference “FSF” at all. See In re
Overlin, Bankr. No. 19-40972-JMM, Dkt. No. 4; In re Pichette, Bankr. No. 19-40730-JMM, Dkt. No. 4.

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confusing. Some of the services Youngblood agreed to provide in return for the “above-

disclosed fee,” which was the total fee for the case, appear to be the same services he stated he

agreed to provide for $0.00 elsewhere in the Old Disclosure Form. See, e.g., Bankr. No. 20-

40819-JMM, Dkt. No. 4. For example, while Youngblood stated that “[i]n return for the above-

disclosed [total] fee, I have agreed to render legal service for all aspects of the bankruptcy case,

including: a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in

determining whether to file a petition in bankruptcy; [and] b. Preparation and filing of any

petition, schedules, statement of affairs and plan which may be required,” later in the Old

Disclosure Form he said he and the debtors agreed that “preparation and filing of the bankruptcy

petition, and review, analysis and advisement of the typical matters that are required to be

performed pre-petition by a bankruptcy attorney under the applicable bankruptcy and ethical

rules” would be done for $0.00. Id. It is unclear whether Youngblood was charging $0.00 to

advise debtors regarding bankruptcy and to prepare and file their petitions, or whether those

services being performed in exchange for the total fee amounts. The Old Disclosure Form says

both.

        Second, the Old Disclosure Form contains language indicating a higher fee is charged

under bifurcated cases than under cases where all fees are paid pre-petition, and that the higher

fee is influenced, at least in part, by a fee charged by “FSF.” See id. If a portion of the fee

indicated in the Old Disclosure Form is really a financing charge rather than fees “for legal

services,” then the Old Disclosure Form is misleading and deceptive. The fees stated in the Old

Disclosure Form are represented as the fees Youngblood agreed to accept “for legal services,”

not some undisclosed amount he agreed to accept “for legal services” and some other

undisclosed amount he agreed to accept as a financing cost or other charge. Even if the manner



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of calculating a split between legal fees and other charges were provided, which, under the Old

Disclosure Form, it is not, the fees or charges for legal services, and the terms of payment, are

misleading and misrepresent the services that would be provided by Youngblood.

       The lack of clarity regarding which services would be provided for which compensation

amounts to a misrepresentation of the services that would be provided to the debtors in violation

of § 526(a)(3)(A). And Youngblood did not perform some of the services he indicated to his

clients would be provided in connection with their bankruptcy cases, in violation of § 526(a)(1).

Disclosures Under the New Disclosure Form

       The bankruptcy cases where Youngblood used the New Disclosure Form are:

                                                                  Received     Balance
                                                                  Prior to     Owed When
                                        Date          Total for   Filing       2016(b)        2016(b)
                                        Petition      Legal       2016(b)      Disclosure     Disclosure
 Case Number     Debtor                 Filed         Services    Disclosure   Filed          Dkt. No.
 20-40915-JMM    Christy L. Phipps       11/25/2020   $1,910.00        $0.00      $1,910.00   Dkt. No. 4
 20-01047-JMM    Dominique Wilson         12/9/2020   $1,910.00        $0.00      $1,910.00   Dkt. No. 4
 20-01063-JMM    Leslie A. Settles       12/15/2020   $1,910.00        $0.00      $1,910.00   Dkt. No. 4
                 Tyron L. Bates and
 20-40961-JMM                            12/15/2020   $1,910.00        $0.00      $1,910.00   Dkt. No. 4
                 MeaGan Bennett
 21-40012-JMM    Callie Ramirez            1/6/2021   $1,800.00        $0.00      $1,800.00   Dkt. No. 4
 21-40162-JMM    Kendrick N. Pereira      3/18/2021   $1,910.00        $0.00      $1,910.00   Dkt. No. 4
 21-00248 -
                 Hannah Joy Cain          4/15/2021   $1,910.00        $0.00      $1,910.00   Dkt. No. 4
 JMM
 21-40286-JMM    Hunter B. Soliday         5/7/2021   $1,800.00        $0.00      $1,800.00   Dkt. No. 4
 21-40374-JMM    Kristi M. Randall        6/23/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Samantha M.
 21-40460-JMM                              8/2/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Whitworth
                 Joshua T. Claunch
 21-40466-JMM    and Anika D.              8/3/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Claunch
                 Ashlee M.
 21-40467-JMM                              8/3/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Croasmun
 21-00512-NGH    Jamie Poole               8/5/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Cameron Ward and
 21-40476-JMM                             8/11/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Melissa Heath
                 Britni Howe and
 21-40482-JMM                             8/17/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 5
                 Cassie Howe
                 Rafa Elliott and
 21-40483-JMM                             8/18/2021   $2,210.00        $0.00      $2,210.00   Dkt. No. 15
                 Cynthia Elliott

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                  David Martinez
 21-00553-NGH                            8/24/2021   $2,210.00      $0.00      $2,210.00   Dkt. No. 5
                  Aguilar
                  Chad N. Moxley
 21-40497-JMM                            8/24/2021   $2,210.00      $0.00      $2,210.00   Dkt. No. 5
                  and Toni L. Moxley
                  Christopher Cook
 21-40513-JMM                            8/31/2021   $2,210.00      $0.00      $2,210.00   Dkt. No. 5
                  and Tausha Cook
                  Louis Davis
 21-40517-JMM     Ellwood and Jessica     9/1/2021   $2,210.00    $500.00      $1,710.00   Dkt. No. 5
                  Ellwood
                  Eric W. Horton and
 21-40521-JMM     Randalee M.             9/3/2021   $2,210.00      $0.00      $2,210.00   Dkt. No. 5
                  Browyer
 21-40526-JMM     Norberto Rodriguez      9/7/2021   $2,210.00      $0.00      $2,210.00   Dkt. No. 5
 21-40532-JMM     Kelsie Shurtliff       9/10/2021   $1,910.00      $0.00      $1,910.00   Dkt. No. 5
 21-40533-JMM     Marissa J. Johnson     9/10/2021   $1,910.00      $0.00      $1,910.00   Dkt. No. 5
                  Christopher D.
 21-40540-JMM     Smith and Misty        9/14/2021   $1,910.00      $0.00      $1,910.00   Dkt. No. 5
                  Smith
                  Eric R. Whittekiend
 21-40557-JMM     and Sharla K.          9/22/2021   $1,910.00      $0.00      $1,910.00   Dkt. No. 5
                  Whittekiend
 21-40563-JMM     Nathan S. Tracy        9/23/2021   $2,210.00      $0.00      $2,210.00   Dkt. No. 5

       The New Disclosure Form describes services that were to be performed by Youngblood

both pre- and post-petition. See, e.g., Bankr. No. 20-40915-JMM, Dkt. No. 4. Like the Old

Disclosure Form, the New Disclosure Form identifies certain fees Youngblood agreed to provide

“in return for the above-disclosed [total] fee.” Id. Such was

                to render legal service for all aspects of the bankruptcy case,
                including:
                a. Analysis of the debtor’s financial situation, and rendering
                    advice to the debtor in determining whether to file a petition in
                    bankruptcy;
                b. Preparation and filing of any petition, schedules, statement of
                    affairs and plan which may be required;
                c. Representation of the debtor at the meeting of creditors and
                    confirmation hearing, and any adjourned hearings thereof.

Id. The New Disclosure Form also includes language attempting to bifurcate pre-petition

services from post-petition services, and is only slightly better than the Older Disclosure Form in

that regard. The New Disclosure Form provides that, under a pre-petition fee agreement,

Youngblood was to provide services


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               for the preparation and filing of the bankruptcy petition, statement
               about social security number, creditor list and other documents
               required at the time of filing; and review, analysis and advisement
               of the typical matters that are required to be performed prior to
               filing by a bankruptcy attorney under the applicable bankruptcy
               and ethical rules.

Id. For post-petition services, the New Disclosure Form indicates such services would include

               the preparation of schedules or assets and liabilities, and statement
               of financial affairs; preparation and filing of other required
               documents; representation at the first meeting of creditors; and
               other services outlined in the fee agreement.

Id.

       While some new information is provided, the New Disclosure Form does little better in

clearly explaining the services to be provided by Youngblood than the Old Disclosure Form did.

Youngblood continued to represent and state he would provide services that he never performed.

       As to the fees that would be charged for the services provided by Youngblood, above the

already-highlighted language, the New Disclosure Form indicates the fees that were agreed to be

paid by the debtors “for legal services,” and that Youngblood agreed the compensation paid or

agreed to be paid to him was “for services rendered or to be rendered on behalf of the debtor(s)

in contemplation of or in connection with the bankruptcy case.” Id. Like the Old Disclosure

Form, the New Disclosure Form indicated there were two options offered to debtors, with the

second being bifurcation of services into pre- and post-petition work, with higher fees being

charged in such cases than if the fees for the bankruptcy were paid in full before the Petition was

filed. The New Disclosure Form indicates the higher fee is based, in part, on a fee charged to

Youngblood by Fresh Start Funding in an amount equal to 25% of the attorney fee that

Youngblood charges the debtor for post-petition services. Id. Whereas the Old Disclosure Form




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was silent on the subject, the nature of Fresh Start Funding and its services is briefly described in

the New Disclosure Form.10 Id.

          The New Disclosure Form suffers from the same confusing and conflicting language as

the Old Disclosure Form, indicating two compensation amounts charged for overlapping

services. Id. While adding language more strongly suggesting a portion of the fees being

collected as fees “for legal services” are actually being charged and collected for another purpose

such as fees to Fresh Start Funding, the New Disclosure Form still plainly states the debtors

agreed to pay the total amount of fees “for legal services.” See id. The New Disclosure Form

indicates 25% of the amount charged for post-petition services may be a financing charge

Youngblood will pay to Fresh Start Funding. Id. If a portion of Youngblood’s compensation is

really a financing charge, the New Disclosure Form is misleading and deceptive because debtors

are told the amount they are paying is for legal services – not for legal services and a financing

charge.

          The 2016(b) Disclosures of Compensation filed in the above-captioned cases indicate

Youngblood misrepresented the services he would provide to his clients, in violation of

§ 526(a)(3), and indicate services would be provided to clients that were never performed, in

violation of § 526(a)(1).

In re Andreasen, 19-40324-JMM

          While the foregoing discussion has focused on issues with the Old Disclosure Form, the

New Disclosure Form, and the disclosures thereunder, in general, one case, in particular,

highlights additional concerns with the manner in which Youngblood was disclosing services

and fees to his clients. In In re Andreasen, 19-40324-JMM, Youngblood used the Old


10
  While not stated in the Old Disclosure Form, it is presumed the references therein to “FSF” were likely references
to Fresh Start Funding.

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Disclosure Form to disclose he would be paid $1,910.00 for services in connection with the

debtors’ bankruptcy case. Bankr. No. 19-40324-JMM, Dkt. No. 4. That amount was to cover,

among other things, “[p]reparation and filing of any petition, schedules, statement of affairs and

plan which may be required.” Id. The initial 2016(b) Disclosure of Compensation in the In re

Andreasen case did not exclude any services under the disclosed compensation. Id.

       On April 23, 2020, Youngblood filed Amended Schedules for the debtors. In the docket

text entry for the Amended Schedules, Youngblood inserted: “Description of Amendment: A/B

& C to add/exempt tax refund Filed by Debtor Brian Andreasen, Joint Debtor Kathryn A.

Andreasen. (Youngblood, Kameron).” See id., Dkt. No. 29 and Docket Entry of April 23, 2020,

for Dkt. No. 29. That same day, Youngblood filed an Amended 2016(b) Disclosure of

Compensation for$175.00 in, apparently, additional fees. See id., Dkt. No. 31. In the docket text

entry for the Amended 2016(b) Disclosure of Compensation, Youngblood explained the purpose

of the amended disclosure was to “[a]dd additional compensation for tax amendment to

schedules.” Id., Docket entry of April 23, 2020 for Dkt. No. 31.

       The result is that, while Youngblood disclosed to the debtors, and the Court, that

$1,910.00 in compensation was going to cover all services in connection with the bankruptcy

case and, at the very least, would cover the preparation and filing of all required schedules in the

case, he later charged the debtors an additional $175.00 to file amended schedules to claim an

additional exemption. The shifting nature of Youngblood’s fee arrangement and disclosures in

the In re Andreasen case causes additional concern that he was misrepresenting the services he

was going to provide and the amount of fees he was charging for the services.




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            b. Disclosures to the Court

         The Bankruptcy Code and Federal Rules of Bankruptcy Procedure require that any

attorney representing a debtor disclose the compensation they have agreed to accept for such

representation. See § 329(a); Rules 2016, 2017. This reporting requirement is effective

beginning one year prior to the debtor filing a petition for relief and continues throughout the

period that a case remains pending before the Court. See Rules 2016, 2017. To comply with this

reporting requirement the attorney for the debtor must file a statement within 14 days of the

petition date which discloses the compensation they have agreed to accept and any agreement

they have entered into to share compensation outside of their law firm. See Rule 2016(b).

         Attorneys representing a debtor in a bankruptcy case have an affirmative duty to fully and

completely disclose all fee arrangements and all payments. See § 329(a); Rule 2016(b); In re

Kowalski, 402 B.R. 843, 849-50 (Bankr. N.D. Ill. 2009). In this regard, attorney disclosures

must be “precise and complete.” In re Berg, 356 B.R. 378, 381 (Bankr. E.D. Pa. 2006) (internal

quotation omitted). An attorney who fails to comply with the requirements of § 329(a) or Rule

2016(b) is subject to “forfeiture of ‘any right to receive compensation for services rendered on

behalf of the debtor,’ and the disgorgement of any funds already paid by the debtor.” In re

McTyire, 357 B. R. 898, 904 (Bankr. M.D. Ga. 2006), quoting In re Woodward, 229 B.R. 468,

473 (Bankr. N.D. Okla. 1999). Even negligent or inadvertent failure to disclose fully relevant

information in a Rule 2016 statement may result in denial of all requested fees. Neben &

Starrett, Inc. v. Chartwell Financial Corp. (In re Park–Helena Corp.), 63 F.3d 877, 882 (9th Cir.

1995).

         Generally, Youngblood discloses the entire fee, along with the bifurcation of the fee and

existence of a financing arrangement with Fresh Start Funding in his 2016(b) Disclosures.



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However, these disclosures are still incomplete in relation to both the financing agreement and

Youngblood’s fee. In relation to any financing agreement between Youngblood and Fresh Start

Funding, the disclosures fail to explain that the amount disclosed is, apparently, not

representative of Youngblood’s compensation in the case. Rather, the disclosures indicate the

fees are “for legal services;” or, in other words, that the amount disclosed is Youngblood’s

compensation received for providing legal services and nothing more. If Fresh Start Funding is

receiving a specific portion of the disclosed amount as a financing charge, the actual reduced

amount Youngblood received as compensation for his legal services and the amount that is a

financing charge to Fresh Start Funding are essential to a fulsome disclosure of Youngblood’s

entire fee arrangement, fee sharing with Fresh Start Funding, and his actual compensation.

Without such disclosures, Youngblood’s 2016(b) Disclosures of Compensation lack the

precision and completeness that are contemplated by the Code and Rules.

       The failure to disclose precise and complete information renders Youngblood’s

compliance with § 329 deficient and he should be ordered to return any compensation paid by

debtors in connection with the above-captioned cases.

           c. Reasonableness of Bifurcated Fees under § 329

       In the majority of the cases using either the Old Disclosure Form or the New Disclosure

Form, Youngblood reported he did not receive any compensation for his pre-petition work. This

fact suggests two possibilities: (i) Youngblood’s pre-petition work was pro bono and he never

intended to receive any compensation for it; or (ii) Youngblood intended to receive at least the

same amount of compensation from the bifurcated contract structure as he does in cases where

attorney fees are paid in full prior to the Petition being filed, and, therefore, his pre-petition work




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would be compensated by post-petition payments. The second possibility is prohibited under

Ninth Circuit case law. See In re Biggar, 110 F.3d 685.

         The bifurcated fee process should acknowledge the value of the pre-petition services

rendered by the attorney. However, nothing prevents an attorney from waiving their pre-petition

fee altogether as long as their intent is not to charge sufficient sums on the post-petition portion

to compensate themselves for the purportedly “free” pre-petition work. Accordingly, if

Youngblood intended to provide his bifurcated fee clients with pro bono pre-petition services

then it is reasonable to expect that his portion of the overall fee11 would be lower than the fees he

collects in cases where he is paid in full before filing a petition.

         Six of Youngblood’s open cases were paid in full prior to the petition being filed:

                                                                                        Total Paid for
                                                                                        Bankruptcy
        Case Number          Debtor                             Date Petition Filed     Services12
        20-40528-JMM         April Trejo Espino                             7/9/2020                 $1,800.00
        21-40002-JMM         Lauren Dawn Rivera                             1/3/2021                 $1,200.00
        21-40160-JMM         Rhonda M. Wright                              3/18/2021                 $1,500.00
        20-01004-JMM         Heather Manning                              11/19/2020                 $1,500.00
        20-40902-JMM         Tara Dawn MacTaggart                         11/19/2020                 $1,500.00
        20-40903-JMM         Brandy G. Emdin                              11/19/2020                 $1,750.00
        Average                                                                                      $1,541.67

         For the purposes of this analysis, it is assumed Youngblood must pay 25% of the post-

petition funds collected to Fresh Start Funding. The pre-petition funds and Youngblood’s

portion of the post-petition funds in his bifurcated fee cases13 is as follows:




11
   Reading between the lines that some portion of the overall fee is actually a financing charge paid to Fresh Start
Funding.
12
   It is unclear whether the amount in the paid-in-full cases was intended to cover the filing fees. The Old
Disclosure Form is also silent, while the New Disclosure Form informed the compensation to Youngblood did not
cover filing fees.
13
   There are a handful of other cases where fees are split into pre- and post-disclosure fees, though it does not appear
the post-disclosure fees are necessarily financed and/or intended to be for post-petition services in those cases.

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                                                                     Amount of Youngblood's
                                                                     Compensation
                                                                     (= pre-petition payments +
                                                                     75% of the amount
                                                                     disclosed as post-petition
                                                     Date Petition   compensation in the filed
     Case Number     Debtor                          Filed           2016(b) disclosures)
                     Brian Andreasen and Kathryn
     19-40324-JMM    A. Andreasen                         4/8/2019                    $1,432.50
     19-40730-JMM    Stephen and Danielle Pichette        8/2/2019                    $1,400.00
                     Lyone B. Overlin and Rebecca
     19-40972-JMM    J. Overlin                         10/10/2019                    $1,432.50
                     Christopher Lee Allen and
     20-00634-NGH    Haley Cherie Allen                  7/13/2020                    $1,650.00
     20-00760-NGH    Morris Adair Margeson               8/19/2020                    $1,432.50
     20-00765-NGH    Katherine L. Lantz                  8/20/2020                    $1,432.50
     20-00784-NGH    Rebecca Lynn Estraca                8/25/2020                    $1,432.50
     20-00843-JMM    James Edward Descoteau              9/17/2020                    $1,575.00
     20-40754-JMM    Darrel Dickson, Jr.                 9/25/2020                    $1,432.50
     20-00915-NGH    Eugene Swinhart                    10/20/2020                    $1,207.50
     20-40819-JMM    Kara D. Andrus                     10/20/2020                    $1,432.50
     20-40915-JMM    Christy L. Phipps                  11/25/2020                    $1,432.50
     20-01047-JMM    Dominique Wilson                    12/9/2020                    $1,432.50
     20-01063-JMM    Leslie A. Settles                  12/15/2020                    $1,432.50
                     Tyron L. Bates and MeaGan
     20-40961-JMM    Bennett                            12/15/2020                    $1,432.50
     21-40012-JMM    Callie Ramirez                       1/6/2021                    $1,350.00
     21-40162-JMM    Kendrick N. Pereira                 3/18/2021                    $1,432.50
     21-00248 -JMM   Hannah Joy Cain                     4/15/2021                    $1,432.50
     21-40286-JMM    Hunter B. Soliday                    5/7/2021                    $1,350.00
     21-40374-JMM    Kristi M. Randall                   6/23/2021                    $1,657.50
     21-40460-JMM    Samantha M. Whitworth                8/2/2021                    $1,657.50
                     Joshua T. Claunch and Anika
     21-40466-JMM    D. Claunch                           8/3/2021                    $1,657.50
     21-40467-JMM    Ashlee M. Croasmun                   8/3/2021                    $1,657.50
     21-00512-NGH    Jamie Poole                          8/5/2021                    $1,657.50
                     Cameron Ward and Melissa
     21-40476-JMM    Heath                               8/11/2021                    $1,657.50
     21-40482-JMM    Britni Howe and Cassie Howe         8/17/2021                    $1,657.50
                     Rafa Elliott and Cynthia
     21-40483-JMM    Elliott                             8/18/2021                    $1,657.50
     21-00553-NGH    David Martinez Aguilar              8/24/2021                    $1,657.50
                     Chad N. Moxley and Toni L.
     21-40497-JMM    Moxley                              8/24/2021                    $1,657.50
                     Christopher Cook and Tausha
     21-40513-JMM    Cook                                8/31/2021                    $1,657.50
                     Louis Davis Ellwood and
     21-40517-JMM    Jessica Ellwood                      9/1/2021                    $1,782.50

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                           Eric W. Horton and Randalee
       21-40521-JMM        M. Browyer                             9/3/2021                     $1,657.50
       21-40526-JMM        Norberto Rodriguez                     9/7/2021                     $1,657.50
       21-40532-JMM        Kelsie Shurtliff                      9/10/2021                     $1,432.50
       21-40533-JMM        Marissa J. Johnson                    9/10/2021                     $1,432.50
                           Christopher D. Smith and
       21-40540-JMM        Misty Smith                           9/14/2021                     $1,432.50
                           Eric R. Whittekiend and
       21-40557-JMM        Sharla K. Whittekiend                 9/22/2021                     $1,432.50
       21-40563-JMM        Nathan S. Tracy                       9/23/2021                     $1,657.50
       Average                                                                                 $1,522.96

        The average amount received by Youngblood in his paid-in-full cases was $18.71 more

than the average amount received in his bifurcated fee cases. That difference, however, is not as

great as would be expected if all work done prior to the petition date in the bifurcated fee cases

was free or if the fees for those services were waived.

        The fees charged in Youngblood’s paid-in-full cases and his bifurcated fee cases

demonstrate the fees being charged for the limited post-petition services is not reasonable. He

sought to be compensated nearly as much in his bifurcated fee cases as when receiving

compensation for all the services performed in a case. As such, the compensation he received

should be returned pursuant to § 329(b).

             d. Youngblood’s Bifurcated Fee Arrangement Creates Impermissible Conflicts
                of Interest

        The language of the Old Disclosure Form indicates Youngblood “has a line of credit from

a third-party lender secured by an assignment of the account receivable owed by Debtor(s).”14

See, e.g., Bankr. No. 20-40754-JMM, Dkt. No. 4. Later, the form indicates that Youngblood “is

able to draw funds under [his] line of credit in an amount up to 75% of the post-petition fees so




14
   The language of the Old Disclosure Form does not identify Fresh Start Funding as the “third-party lender,” but
this is likely because certain language in the form used by Youngblood appears to have been cut-off. See, e.g.,
Bankr. No. 20-40754-JMM, Dkt. No. 4. There is an oblique reference to “FSF,” in the Old Disclosure Form, and it
is believed the referred to third-party lender is Fresh Start Funding.

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long as [he] assigns the post-petition receivable to the lender as collateral for payment . . . .” Id.

In other words, under the funding arrangement referenced in the Old Disclosure Form, once such

a case was commenced, Youngblood had access to a line of credit from his lender.

        Idaho Rule of Professional Conduct 1.7 provides:

                 (a) Except as provided in paragraph (b), a lawyer shall not
                     represent a client if the representation involves a concurrent
                     conflict of interest. A concurrent conflict of interest exists if:
                       ****
                       (2) there is a significant risk that the representation of one
                             or more clients will be materially limited by . . . the
                             personal interests of the lawyer . . . .

IRPC 1.7(a)(2).

        The net monthly income in the cases where Youngblood used the bifurcated fee

arrangement indicates that, in most cases,15 the debtors had negative net monthly income before

adding the burden of paying Youngblood’s fees on a monthly basis. Put differently, it was clear

from documents Youngblood created and filed hat the debtors would not be able to afford their

monthly payments to Youngblood. The arrangement recognized in the 2016(b) disclosures,

while beneficial to Youngblood because it opened his access to a line of credit, was financially

detrimental to Youngblood’s clients. They were being set up to fail, burdened with additional

financial obligations their finances already showed they could not meet.

        The debtors’ net monthly income, per their Schedules, was as follows at the time their

cases commenced:




15
  There were only 5 of the 39 cases using the bifurcated fee arrangement that had positive monthly net income and
could, in theory, have paid the future payments they were being obligated to: In re Pichette, 19-40730-JMM; In re
Overlin, 19-40972-JMM; In re Soliday, 21-40286-JMM; In re Poole, 21-00512-NGH; and In re Cook, 21-40513-
JMM. There were an additional 6 cases, where the debtors’ financial ability to pay the post-petition fees is unknown
– because Schedules have not been filed.

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                                                            Monthly         Monthly         Monthly
                                                            Income          Expenses        Net
 Case Number     Debtor                                     (Schedule I)    (Schedule J)    Income
 19-40324-JMM    Brian Andreasen and Kathryn A. Andreasen       $2,220.93       $2,665.00    ($444.07)
 19-40730-JMM    Stephen and Danielle Pichette                  $5,328.00       $3,737.69    $1,590.31
 19-40972-JMM    Lyone B. Overlin and Rebecca J. Overlin        $2,879.79       $2,207.55      $672.24
                 Christopher Lee Allen and Haley Cherie
 20-00634-NGH    Allen                                          $4,836.52       $5,868.00   ($1,031.48)
 20-00760-NGH    Morris Adair Margeson                          $3,265.96       $3,558.00    ($292.04)
 20-00765-NGH    Katherine L. Lantz                             $2,345.41       $2,436.00     ($90.59)
 20-00784-NGH    Rebecca Lynn Estraca                           $2,992.46       $3,134.00    ($141.54)
 20-00843-JMM    James Edward Descoteau                         $3,136.89       $3,555.00    ($418.11)
 20-40754-JMM    Darrel Dickson, Jr.                            $1,534.71       $2,402.00    ($867.29)
 20-00915-NGH    Eugene Swinhart                                $1,490.29       $1,933.00    ($442.71)
 20-40819-JMM    Kara D. Andrus                                 $3,759.43       $5,225.00   ($1,465.57)
 20-40915-JMM    Christy L. Phipps                              $2,727.84       $3,379.00    ($651.16)
 20-01047-JMM    Dominique Wilson                               $1,579.43       $1,685.00    ($105.57)
 20-01063-JMM    Leslie A. Settles                              $3,823.00       $5,197.00   ($1,374.00)
 20-40961-JMM    Tyron L. Bates and MeaGan Bennett              $1,615.67       $2,613.00    ($997.33)
 21-40012-JMM    Callie Ramirez                                 $2,566.49       $2,915.00    ($348.51)
 21-40162-JMM    Kendrick N. Pereira                            $2,744.00       $3,301.35    ($557.35)
 21-00248 -JMM   Hannah Joy Cain                                $2,332.33       $2,365.00     ($32.67)
 21-40286-JMM    Hunter B. Soliday                              $9,359.69       $1,718.00    $7,641.69
 21-40374-JMM    Kristi M. Randall                              $2,623.23       $2,675.00     ($51.77)
 21-40460-JMM    Samantha M. Whitworth                            $996.66       $1,563.00    ($566.34)
 21-40466-JMM    Joshua T. Claunch and Anika D. Claunch         $5,441.79       $5,548.00    ($106.21)
 21-40467-JMM    Ashlee M. Croasmun                             $2,236.88       $2,443.00    ($206.12)
 21-00512-NGH    Jamie Poole                                    $2,673.53       $2,224.80      $448.73
 21-40476-JMM    Cameron Ward and Melissa Heath                 $2,196.65       $2,327.00    ($130.35)
 21-40482-JMM    Britni Howe and Cassie Howe                    $3,676.81       $3,692.00     ($15.19)
 21-40483-JMM    Rafa Elliott and Cynthia Elliott               $2,487.76       $2,894.08    ($406.32)
 21-00553-NGH    David Martinez Aguilar                         $3,968.77       $4,025.00     ($56.23)
 21-40497-JMM    Chad N. Moxley and Toni L. Moxley          No Schedules    No Schedules         $0.00
 21-40513-JMM    Christopher Cook and Tausha Cook               $5,427.15       $4,245.00    $1,182.15
 21-40517-JMM    Louis Davis Ellwood and Jessica Ellwood        $2,920.78       $6,445.00   ($3,524.22)
 21-40521-JMM    Eric W. Horton and Randalee M. Browyer         $3,178.21       $4,037.00    ($858.79)
 21-40526-JMM    Norberto Rodriguez                             $2,201.77       $2,446.00    ($244.23)
 21-40532-JMM    Kelsie Shurtliff                           No Schedules    No Schedules         $0.00
 21-40533-JMM    Marissa J. Johnson                         No Schedules    No Schedules         $0.00
 21-40540-JMM    Christopher D. Smith and Misty Smith       No Schedules    No Schedules         $0.00
                 Eric R. Whittekiend and Sharla K.
 21-40557-JMM    Whittekiend                                No Schedules    No Schedules         $0.00


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 21-40563-JMM         Nathan S. Tracy                                 No Schedules       No Schedules            $0.00

         The bifurcated fee financing arrangement recognized by the 2016(b) disclosures shows

Youngblood’s financial interests conflicted with his clients’ hope for a fresh start, and his use of

such agreements created an impermissible conflict of interest under IRPC 1.7(a)(2). As such,

under § 329(b), Youngblood should be ordered to return any collected fees.

                                      V.       REQUEST FOR RELIEF

         Based on the above, the UST asks the Court to impose appropriate monetary and non-

monetary remedies, including:

         •   Cancelling or voiding any contract or agreement in the above-captioned cases

             between the debtors and Youngblood under §§ 329.

         •   Under § 329, ordering the return to the debtors in the above-captioned cases the

             amount of fees each debtor has paid to Youngblood.16

         •   Injunctive relief under § 526(c)(5) and the Court’s inherent authority to run its

             courtroom and supervise the attorneys practicing in front of it, due to Youngblood’s

             intentional violations of § 526, the clear and consistent pattern or practice of violating

             § 526, and Youngblood’s bad faith demonstrated by his repeated misrepresentations

             to his clients and the Court:

                  o Suspend Youngblood’s practice in front of the Court until the Court is

                      satisfied the concerns identified herein or at any subsequent hearing have been

                      corrected.




16
  It is anticipated such relief would require notice to each potentially affected debtor and the establishment of some
sort of “claim” process within which debtors would be required to submit documentation showing the amount of
fees they have paid.

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             o If Youngblood is allowed to practice in front of the Court again, require

                 Youngblood to file a “status report” or other document with the Court in each

                 case where he appears as counsel. Such a document should include a client’s

                 wet signature and a clear and conspicuous attestation by the client and

                 Youngblood indicating (1) Youngblood personally met and reviewed the

                 Petition, Schedules, SOFA, and other documents with the client prior to filing;

                 (2) the client’s questions have been answered regarding the Petition,

                 Schedules, SOFA, and other documents, and the information included therein,

                 and the client is satisfied he or she is receiving adequate representation from

                 Youngblood; and (3) the client provided Youngblood a copy of the wet

                 signatures for the Petition, Schedules, SOFA, and other documents filed in the

                 case. The requirement to file such a report should continue until the Court is

                 satisfied it is no longer necessary.

      •   Pursuant to § 526(c)(5)(B), as a result of Youngblood’s intentional violations, and

          pattern and practice of violating, §§ 526(a)(1), (a)(2), and (a)(3), the Court should

          impose an appropriate civil penalty against Youngblood to deter him from making

          untrue and misleading statements and misrepresentations in the future.



 Date: October 21, 2021                      GREGORY M. GARVIN
                                             Acting United States Trustee for Region 18

                                             /s/ Jason R. Naess
                                             JASON R. NAESS
                                             Attorney for Movant Acting United States Trustee
                                             jason.r.naess@usdoj.gov




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EXHIBIT A

                                                                Debts Primarily
                                                                Consumer          Value of Real and
 Case Number     Debtor                                         Debts             Person Property
 19-40324-JMM    Brian Andreasen and Kathryn A. Andreasen       Yes                      $94,907.00
 19-40683-JMM    Peter Michael Lesbo                            Yes                       $5,685.00
 19-40730-JMM    Stephen and Danielle Pichette                  Yes                     $206,500.00
 19-40972-JMM    Lyone B. Overlin and Rebecca J. Overlin        Yes                      $60,420.00
 20-00634-NGH    Christopher Lee Allen and Haley Cherie Allen   Yes                      $16,732.00
 20-00760-NGH    Morris Adair Margeson                          Yes                     $337,570.00
 20-00765-NGH    Katherine L. Lantz                             Yes                     $122,560.00
 20-00784-NGH    Rebecca Lynn Estraca                           Yes                      $19,270.00
 20-00843-JMM    James Edward Descoteau                         Yes                       $4,030.00
 20-00915-NGH    Eugene Swinhart                                Yes                      $20,261.29
 20-01004-JMM    Heather Manning                                Yes                      $17,795.00
 20-01047-JMM    Dominique Wilson                               Yes                       $2,345.00
 20-01063-JMM    Leslie A. Settles                              Yes                      $23,532.00
 20-40528-JMM    April Trejo Espino                             Yes                       $2,510.00
 20-40754-JMM    Darrel Dickson, Jr.                            Yes                     $180,835.00
 20-40819-JMM    Kara D. Andrus                                 Yes                     $104,591.00
 20-40902-JMM    Tara Dawn MacTaggart                           Yes                      $15,507.00
 20-40903-JMM    Brandy G. Emdin                                Yes                      $43,610.00
 20-40915-JMM    Christy L. Phipps                              Yes                      $17,965.00
 20-40931-JMM    Alicia D. Barendregt and Colin Barendregt      Yes                     $185,330.00
 20-40961-JMM    Tyron L. Bates and MeaGan Bennett              Yes                      $25,281.00
 21-00248 -JMM   Hannah Joy Cain                                Yes                         $945.00
 21-00512-NGH    Jamie Poole                                    Yes                       $7,940.10
 21-00553-NGH    David Martinez Aguilar                         Yes                       $3,475.00
 21-40002-JMM    Lauren Dawn Rivera                             Yes                       $9,558.21
 21-40012-JMM    Callie Ramirez                                 Yes                       $9,190.00
 21-40032-JMM    Ruth M. Crisp                                  Yes                     $122,800.16
 21-40100-JMM    Lisa M. Phipps                                 Yes                      $26,395.00
 21-40160-JMM    Rhonda M. Wright                               Yes                       $2,580.00
 21-40162-JMM    Kendrick N. Pereira                            Yes                      $30,436.00
 21-40286-JMM    Hunter B. Soliday                              Yes                      $18,010.26
 21-40374-JMM    Kristi M. Randall                              Yes                      $36,293.00
 21-40415-JMM    Anna M. Baumgart                               Yes                       $8,985.00
 21-40460-JMM    Samantha M. Whitworth                          Yes                       $9,125.00
 21-40466-JMM    Joshua T. Claunch and Anika D. Claunch         Yes                      $40,695.00
 21-40467-JMM    Ashlee M. Croasmun                             Yes                       $6,122.00
 21-40476-JMM    Cameron Ward and Melissa Heath                 Yes                       $1,030.00

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 21-40477-JMM     Mark D. Christensen and Sarah A. Christensen    Yes                      $43,332.28
 21-40482-JMM     Britni Howe and Cassie Howe                     Yes                       $6,660.00
 21-40483-JMM     Rafa Elliott and Cynthia Elliott                Yes                      $10,728.00
 21-40497-JMM     Chad N. Moxley and Toni L. Moxley               Yes
 21-40513-JMM     Christopher Cook and Tausha Cook                Yes                       $8,240.00
 21-40517-JMM     Louis Davis Ellwood and Jessica Ellwood         Yes                      $71,859.00
 21-40521-JMM     Eric W. Horton and Randalee M. Browyer          Yes                      $30,840.00
 21-40525-JMM     Cody W. Plicka and Angele M. Plicka             Yes                      $36,235.00
 21-40526-JMM     Norberto Rodriguez                              Yes                       $4,445.00
 21-40532-JMM     Kelsie Shurtliff                                Yes
 21-40533-JMM     Marissa J. Johnson                              Yes
 21-40540-JMM     Christopher D. Smith and Misty Smith            Yes
 21-40557-JMM     Eric R. Whittekiend and Sharla K. Whittekiend   Yes
 21-40563-JMM     Nathan S. Tracy                                 Yes

To be an “assisted person” for the purposes of the Bankruptcy Code, a person must be a “person
whose debts consist primarily of consumer debts and the value of whose nonexempt property is
less than $204,425.” § 101(3).

To evaluate whether the debtors in the above-captioned cases have debts that consist primarily of
consumer debts, the UST relied upon the debtors’ responses to Question 16 of the Petition: “Are
your debts primarily consumer debts?”

To evaluate the value of the debtors’ property, the UST started by looking at the value of the
debtors’ property, exempt or not, as reported in their Schedules. The value of that property is the
value reported above. All but two cases were under the value threshold of § 101(3) without even
considering exemptions. The exemptions in the other two cases (In re Pichette: $142,500.00 in
claimed exemptions; In re Margeson: $182,570.00 in claimed exemptions) bring the value of
those debtors’ nonexempt property below the threshold to be assisted persons.




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